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           EXHIBIT D
        Case 4:22-cv-03359 Document 53-4 Filed on 02/16/23 in TXSD Page 2 of 65




                                                       S     cott Stephen
                                                             & Associates, Inc.      S
                                                          An Appraisal Report of the
                                                          0.5553 Acre Tract of Vacant Land
                                                                         Located along the
                                                                  East line of Hogan Lane
                                                   Hempstead, Waller County, Texas 77445

                                                                       File ID: 221202073




                                                                                     FOR
                                                                          Appraisal MC
                                                                     320 Detering, Ste. B
                                                                      Houston, TX 77007




                                                                                 As Is:
Scott Stephens                                                       December 28, 2022
& Associates, Inc.

15021 Bohemian Hall Rd.
Crosby, Texas 77532
713-451-3600
713-451-3300 Fax
                                                                              SSA Job No.:
www.scottstephensandassociates.com                                            (2212-16489)

                                           1
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                                      L<HMM LM>IA>GL & :LLH<B:M>L% BG<'
                                             Real Estate Appraisers – Consultants
                                      Houston, Austin, San Antonio and South Texas
                                                15021 Bohemian Hall Road
                                                    Crosby, Texas 77532
                                                   Phone: (713) 451-3600
                                                    Fax: (713) 451-3300
                                             www.scottstephensandassociates.com




                                                                                                        Ryan Dagley, MAI, President
Scott P. Stephens, MAI, AI-GRS, CEO                                                 Lt. Colonel (Ret.) Terence J. O’Rourke, MAI, VP




                                                                                                     =^\^f[^k +2% +)++

 :iikZblZe F<
 ,+) =^m^kbg`% Lm^' ;
 Ahnlmhg% MQ 00))0

 ?be^ B=3 ++*+)+)0,

 K^3 :iikhqbfZm^er )'..., Z\k^l hk +-% ,2- ljnZk^ _^^m h_ eZg] eh\Zm^] Zehg` ma^ >Zlm ebg^ h_
     Ah`Zg EZg^% A^film^Z]% PZee^k <hngmr% M^qZl 00--.'

 =^Zk pahf bm fZr \hg\^kg3

      : k^Ze ^lmZm^ :iikZblZe K^ihkm h_ ma^ Z[ho^ k^_^k^g\^] ikhi^kmr aZl [^^g \hg]n\m^]' Ma^
 :l Bl fZkd^m oZen^ h_ ma^ _^^ lbfie^ ^lmZm^ Zl h_ =^\^f[^k +1% +)++ bl3

                                                       $1)% )))#
         P^ Zk^ ghm jnZeb_b^] mh ]^m^\m ma^ ^qblm^g\^ h_ aZsZk]hnl fZm^kbZel% pab\a fZr hk fZr
 ghm [^ ik^l^gm hg ma^ ln[c^\m ikhi^kmr' AZsZk]hnl fZm^kbZel fZr Z__^\m ma^ oZen^ h_ ma^ ikhi^kmr'
 Ma^ oZen^ ^lmbfZm^] bl ik^]b\Zm^] hg ma^ Zllnfimbhg maZm ma^k^ bl ghm ln\a fZm^kbZe hg hk bg ma^
 ikhi^kmr maZm phne] \Znl^ Z ehll bg oZen^' Gh k^lihglb[bebmr bl Zllnf^] _hk ln\a \hg]bmbhgl hk _hk
 Zgr ^qi^kmbl^ hk ^g`bg^^kbg` dghpe^]`^ k^jnbk^] mh ]bl\ho^k ma^f' Ma^ \eb^gm bl nk`^] mh k^mZbg
 Zg ^qi^km bg mabl _b^e]% b_ ]^lbk^]'

      MA> HIBGBHG H? O:EN> LM:M>= :;HO>% :L P>EE :L >O>KR HMA>K
 >E>F>GM H? MABL :IIK:BL:E K>IHKM% BL JN:EB?B>= BG BML >GMBK>MR ;R MA>
 @>G>K:E :LLNFIMBHGL :G= EBFBMBG@ <HG=BMBHGL L>M ?HKMA BG :GHMA>K
 I:KM H? MABL K>IHKM :G= PAB<A :K> :G BGM>@K:E I:KM H? MA> K>IHKM'

 B \^kmb_r maZm% mh ma^ [^lm h_ fr dghpe^]`^ Zg] [^eb^_% ~

 ! *"      Ma^ lmZm^f^gml h_ _Z\m \hgmZbg^] bg mabl k^ihkm Zk^ mkn^ Zg] \hkk^\m'




                                                              2
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=^\^f[^k +2% +)++

! +"      Ma^ k^ihkm^] ZgZerl^l% hibgbhgl% Zg] \hg\enlbhgl Zk^ ebfbm^] hger [r ma^ k^ihkm^]
          Zllnfimbhgl Zg] ebfbmbg` \hg]bmbhgl% Zg] Zk^ fr i^klhgZe% bfiZkmbZe% Zg] ng[bZl^]
          ikh_^llbhgZe ZgZerl^l% hibgbhgl% Zg] \hg\enlbhgl'

! ,"      B aZo^ gh ik^l^gm hk ikhli^\mbo^ bgm^k^lm bg ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm%
          Zg] B aZo^ gh i^klhgZe bgm^k^lm pbma k^li^\m mh ma^ iZkmb^l bgoheo^]'

! -"      B aZo^ gh [bZl pbma k^li^\m mh ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm hk mh ma^ iZkmb^l
          bgoheo^] pbma mabl Zllb`gf^gm'

! ."      Fr ^g`Z`^f^gm bg mabl Zllb`gf^gm pZl ghm \hgmbg`^gm nihg ]^o^ehibg` hk k^ihkmbg`
          ik^]^m^kfbg^] k^lneml'

! /"      Fr \hfi^glZmbhg _hk \hfie^mbg` mabl Zllb`gf^gm pZl ghm \hgmbg`^gm nihg ma^
          ]^o^ehif^gm hk k^ihkmbg` h_ Z ik^]^m^kfbg^] oZen^ hk ]bk^\mbhg bg oZen^ maZm _Zohkl ma^
          \Znl^ h_ ma^ \eb^gm% ma^ Zfhngm h_ ma^ oZen^ hibgbhg% ma^ ZmmZbgf^gm h_ Z lmbineZm^] k^lnem%
          hk ma^ h\\nkk^g\^ h_ Z ln[l^jn^gm ^o^gm ]bk^\mer k^eZm^] mh ma^ bgm^g]^] nl^ h_ mabl
          ZiikZblZe'

! 0"      Fr ZgZerl^l% hibgbhgl% Zg] \hg\enlbhgl p^k^ ]^o^ehi^]% Zg] mabl k^ihkm aZl [^^g
          ik^iZk^]% bg \hg_hkfbmr pbma ma^ Uniform Standards of Professional Appraisal Practice.

! 1"      B \^kmb_r maZm% mh ma^ [^lm h_ fr dghpe^]`^ Zg] [^eb^_% ma^ k^ihkm^] ZgZerl^l% hibgbhgl% Zg]
          \hg\enlbhgl p^k^ ]^o^ehi^]% Zg] mabl k^ihkm aZl [^^g ik^iZk^]% bg \hg_hkfbmr pbma ma^
          Ngb_hkf LmZg]Zk]l h_ Ikh_^llbhgZe IkZ\mb\^% ma^ k^jnbk^f^gml h_ ma^ <h]^ h_ Ikh_^llbhgZe
          >mab\l Zg] ma^ LmZg]Zk]l h_ Ikh_^llbhgZe :iikZblZe IkZ\mb\^ h_ ma^ :iikZblZe Bglmbmnm^% Zg]
          ma^ li^\b_b\ k^ihkmbg` k^jnbk^f^gml h_ ma^ \eb^gm'

! 2"      DZmb^ F\@bggbl Zg] DZbe^r @beebg`l% :iikZblZe MkZbg^^ MQ&*,-,-)2% aZo^ fZ]^ Z
          i^klhgZe oblbm mh ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm' L\hmm I' Lm^ia^gl% F:B%
          :B&@KL Zg] KrZg =Z`e^r% F:B aZo^ k^ob^p^] ma^ k^ihkm Zg] \hg\nk pbma ma^ ZgZerlbl
          Zg] \hg\enlbhgl'

! *)"     DZbe^r @beebg`l% :iikZblZe MkZbg^^ MQ&*,-,-)2 aZl ikhob]^] lb`gb_b\Zgm ikh_^llbhgZe
          ZllblmZg\^ mh ma^ i^klhgl lb`gbg` mabl k^ihkm'

! **"     B \^kmb_r maZm ma^ nl^ h_ mabl k^ihkm bl ln[c^\m mh ma^ k^jnbk^f^gml h_ ma^ :iikZblZe Bglmbmnm^
          k^eZmbg` mh k^ob^p [r bml ]ner Znmahkbs^] k^ik^l^gmZmbo^l'

! *+"     :l h_ ma^ ]Zm^ h_ mabl k^ihkm% L\hmm I' Lm^ia^gl% F:B% :B&@KL Zg] KrZg C' =Z`e^r% F:B
          aZo^ \hfie^m^] ma^ k^jnbk^f^gml h_ ma^ \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^ :iikZblZe
          Bglmbmnm^ Zg] ma^ LmZm^ h_ M^qZl' DZmb^ F\@bggbl aZl \hfie^m^] ma^ k^jnbk^f^gml h_ ma^
          \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^ LmZm^ h_ M^qZl' DZbe^r @beebg`l% :iikZblZe MkZbg^^
          MQ&*,-,-)2 aZl \hfie^m^] ma^ k^jnbk^f^gml h_ ma^ \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^
          LmZm^ h_ M^qZl'

! *,"     Ma^ ZiikZbl^k! l" aZo^ ghm i^k_hkf^] l^kob\^l Zl Zg ZiikZbl^k hk bg Zgr hma^k \ZiZ\bmr%
          k^`Zk]bg` ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm pbmabg ma^ ik^obhnl mak^^ r^Zkl
          bff^]bZm^er ik^\^]bg` Z\\^imZg\^ h_ mabl Zllb`gf^gm'



                                                     3
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=^\^f[^k +2% +)++


       Ma^ ZmmZ\a^] k^ihkm bl Zg ^qieZgZmbhg h_ ma^ ZgZerlbl Zg] k^Zlhgbg` nl^] mh ]^kbo^ Z
fZkd^m oZen^ ^lmbfZm^ _hk ma^ ln[c^\m' Ma^ Z[ho^ oZen^l Zk^ [Zl^] hg Z k^ZlhgZ[e^ ^qihlnk^
i^kbh] h_ *+ fhgmal'

        Ma^ ZiikZblZe pZl \hg]n\m^] lhe^er _hk ma^ gZf^] \eb^gm Zg] bl _hk ma^ bgm^kgZe nl^ h_ ma^
\eb^gm hger' B_ rhn aZo^ Zgr jn^lmbhgl% ie^Zl^ _^^e _k^^ mh \Zee'

                                                        Lbg\^k^er%
                                                        L\hmm Lm^ia^gl & :llh\bZm^l% Bg\'




[r L\hmm I' Lm^ia^gl% F:B% :B&@KL% <>H                  [r KrZg C' =Z`e^r% F:B% Ik^lb]^gm
LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k                    LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k
<^kmb_b\Zm^ Gh' MQ&*,+)+/2&@                            <^kmb_b\Zm^ Gh' MQ&*,,.+)1&@




[r DZmb^ F\@bggbl% :llh\bZm^                            [r DZbe^r @beebg`l% :iikZbl^k MkZbg^^
LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k                    <^kmb_b\Zm^ Gh' MQ&*,-,-)2
<^kmb_b\Zm^ Gh' MQ&*,1*)*+&@

LIL(KC=(DF(D@(k`




                                                4
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                                >Q><NMBO> LNFF:KR


Eh\Zmbhg3                   >Zlm ebg^ h_ Ah`Zg EZg^% A^film^Z]% M^qZl 00--.


Ikhi^kmr Mri^3              OZ\Zgm EZg]


EZg] :k^Z3                  )'..., Z\k^l hk +-% #&- ljnZk^ _^^m h_ eZg] [^bg` ;eh\d *% Ehm $%%
                            E^`^g]Zkr HZdl Ln[]boblbhg% PZee^k <hngmr% M^qZl'



EZg] OZen^3                 )'..., Z\k^l hk +-% #&- ljnZk^ _^^m 9 $1)% ))) i^k ehm '''''' $1)% )))


?bgZe OZen^ Hibgbhg3        $1)% )))


FZkd^mbg` I^kbh]3           *+ fhgmal


OZenZmbhg =Zm^3             =^\^f[^k +1% +)++
=Zm^ h_ K^ihkm3             =^\^f[^k +2% +)++


:iikZbl^k3                  L\hmm I' Lm^ia^gl% F:B% :B& @KL% <>H
                            KrZg C' =Z`e^r% F:B% Ik^lb]^gm
                            DZmb^ F\@bggbl% :llh\bZm^
                            DZbe^r @beebg`l% MkZbg^^ :iikZbl^k
                            L\hmm Lm^ia^gl Zg] :llh\bZm^l% Bg\'



:ee oZen^l lmZm^] Z[ho^ Zk^ ln[c^\m mh ma^ Zllnfimbhgl Zg] ebfbmbg` \hg]bmbhgl Zl l^m hnm bg
mabl gZkkZmbo^ ZiikZblZe'




                                               5
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                                  M:;E> H? <HGM>GML

Mbme^ IZ`^                                                               *
E^mm^k h_ MkZglfbmmZe pbma <^kmb_b\Zm^                                   +
>q^\nmbo^ LnffZkr                                                        .
MZ[e^ h_ <hgm^gml                                                       /
:llnfimbhgl Zg] Ebfbmbg` <hg]bmbhgl                                     0
JnZeb_b\Zmbhgl h_ ma^ :iikZbl^kl                                        2
:k^Z FZi                                                               *1
Iahmhl h_ Ln[c^\m                                                      *2

=>L<KBIMBHGL% :G:ERL>L% :G= <HG<ENLBHGL                                +)
Ik^fbl^ h_ ma^ :iikZblZe                                               +*
G^b`a[hkahh] :gZerlbl                                                  +2
Lbm^ =ZmZ Zg] :gZerlbl                                                 ,2
:^kbZe Iahmh                                                           -)
MZq FZi                                                                -+
?ehh] FZi                                                              --
Ab`a^lm Zg] ;^lm Nl^ :gZerlbl                                          -.

E:G= L:E>L <HFI:KBLHG :IIKH:<A                                         -/
<hfiZkZ[e^ EZg] LZe^l                                                  -0
<hfiZkZ[e^ EZg] LZe^l FZi                                              .,
Lbm^ OZenZmbhg                                                         .-
EZg] :]cnlmf^gm @kb]                                                   ./

:==>G=:                                                                .0
>g`Z`^f^gm E^mm^k                                                      .1
MZq K^\hk]l                                                            /+




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                                  GENERAL ASSUMPTIONS

         No responsibility is assumed for the legal description provided or for matters pertaining
to legal or title considerations. Title to the property is assumed to be good and marketable unless
otherwise stated. The property is appraised free and clear of any or all liens or encumbrances
unless otherwise stated. Responsible ownership and competent management are assumed.
         The information furnished by others is believed to be reliable, but no warranty is given
for its accuracy. The appraisal will interpret the FEMA map in the report. However, the reader
is directed to the Caution Statement at the bottom of such map regarding the need to have the
property evaluated by a qualified civil engineer or specialist to determine the floodplain status of
the property. We are not experts in floodplain evaluation, nor is our interpretation warranted.
All engineering studies are assumed to be correct. The plot plans and illustrative material in this
report are included only to help the reader visualize the property. It is assumed that there are no
hidden or unapparent conditions of the property, subsoil, or structures that render it more or less
valuable. No responsibility is assumed for such conditions or for obtaining the engineering
studies that may be required to discover them. It is assumed that there is full compliance with all
applicable federal, state, and local environmental regulations and laws unless the lack of
compliance is stated, described, and considered in the appraisal report.
         It is assumed that the property conforms to all applicable zoning and use regulations and
restrictions unless a nonconformity has been identified, described and considered in the
appraisal.        It is assumed that all required licenses, certificates of occupancy, consents, and
other legislative or administrative authority from any local, state, or national governmental or
private entity or organization have been or can be obtained or renewed for any use on which the
value estimate contained in this report is based.
         It is assumed that the utilization of the land and improvements is confined within the
boundaries or property lines of the described property and that there is no encroachment or
trespass unless noted within the report.
         Unless otherwise stated in this report, the existence of hazardous materials or wetlands,
which may or may not be present on the property, was not observed by the appraiser. The
appraiser has no knowledge of the existence of such materials or condition on or in the property.
The appraiser, however, is not qualified to detect such substances or areas. The presence of
substances such as asbestos, urea-formaldehyde foam insulation, and other potentially hazardous
materials may affect the value of the property. The value estimated is predicated on the
assumptions that there is no such materials on or in the property that would cause a loss in value.
No responsibility is assumed for such conditions or for any expertise or engineering knowledge
required to discover them. The client is urged to retain an expert in this field, if desired.



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                                   LIMITING CONDITIONS

        The opinion of value and every other element of this appraisal report are qualified and
limited by all of the following conditions:

       1. 6-.5 4*3246 8&5 34*3&4*) +24 6-* .16*41&/ 75* 2+ 6-* (/.*16
&1) .16*1)*) 75*4"5# 1&0*) 8.6-.1 6-.5 4*3246% 12 3*4521 24 *16.69
26-*4 6-&1 6-* (/.*16 &1) .16*1)*) 75*4"5# -&5 &19 4.,-6 24 &76-24.69
62 4*/9 21 6-.5 4*3246 24 &196-.1, (216&.1*) .1 .6 24 .03/.*) +420 .6$
71/*55 26-*48.5* 56&6*) .1 6-* '2)9 2+ 6-* 4*3246%
       2. The appraiser will not be required to give testimony or appear in court because of
having made this appraisal, with reference to the property in question, unless arrangements have
been previously made.
        3. The appraiser, by reason of this appraisal, is not required to give further consultation
or testimony or to be in attendance in court with reference to the property in question unless
arrangements have been previously made.
        4. The distribution of the total valuation in this report between land and improvements
applies only under the reported highest and best use of the property. The allocations of value for
land and improvements must not be used in conjunction with any other appraisal and are invalid
if so used.
        5. Neither all nor any part of the contents of this report, or copy thereof, shall be
conveyed to the public through advertising, public relations, news, sales, or any other media
without written consent and approval of the appraiser. Nor shall the appraiser, firm, or
professional organization of which the appraiser is a member be identified without written
consent of the appraiser.
        6. By acceptance of this report, the client acknowledges that the value opinion is the
product of a professionally trained mind, but nevertheless is an opinion only, and not a provable
fact. As a personal opinion, a valuation may vary between appraisers based on the same facts.




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                JN:EB?B<:MBHGL H? L<HMM I' LM>IA>GL% F:B% :B&
                                                            @KL




Mission Statement:



L\hmm Lm^ia^gl & :llh\bZm^l% Bg\ aZl Z lmZ__ h_ *, bg\en]bg` , f^f[^kl h_ ma^ :iikZblZe Bglmbmnm^
! F:B" ' L^o^g ZiikZbl^kl li^\bZebs^ bg \hff^k\bZe ikhi^kmb^l% , bg k^lb]^gmbZe Zg] , lniihkm lmZ__'

Ikh_^llbhgZe :__bebZmbhg3
   F:B &=^lb`gZm^] F^f[^k h_ :iikZblZe Bglmbmnm^ #00.1 hg FZk\a ,% *211
   :B&@KL &=^lb`gZm^] F^f[^k h_ :iikZblZe Bglmbmnm^ # 1*2*/ hg Gho^f[^k *0% +)*.
   LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^k ! <^kmb_b\Zm^ # MQ&*,+)+/2&@" % lbg\^ *22*
   K^Ze >lmZm^ ;khd^k3 M^qZl Eb\^gl^ #,+12)0% lbg\^ *21/

<^kmb_b\Zmbhg3
   <nkk^gmer \^kmb_b^] [r ma^ :iikZblZe Bglmbmnm^ ! *+(+*" Zg] ma^ LmZm^ h_ M^qZl ! ,(+," '

>]n\ZmbhgZe ;Z\d`khng]3
  @Zm^lobee^ Ab`a L\ahhe% @Zm^lobee^% M^qZl &FZr *202
  ;Z\a^ehk h_ L\b^g\^ =^`k^^ &M^qZl :&F Ngbo^klbmr4 :`kb\nemnkZe >\hghfb\l • *21+

K^\^gm <hgmbgnbg` >]n\Zmbhg <hfie^m^]3
   ?Zggb^ FZ^ :iikZblZe @nb]^ebg^l3 =^[ngdbg` ma^ Frmal ! +(*2" % Bgmkh]n\mbhg mh >qi^km Pbmg^ll
   M^lmbfhgr _hk :iikZbl^kl3 Mh =h hk Ghm mh =h ! +(*2" % Lniihkmbg` Rhnk :]cnlmf^gml3 F^mah]l
   _hk K^lb]^gmbZe :iikZbl^kl ! +(*2" % ;nlbg^ll IkZ\mb\^l Zg] >mab\l ! .(+)" % Fbee^ggbZel Zk^
   <aZg`bg` K^Ze >lmZm^ ! /(+)" % ;khd^k K^lihglb[bebmr ! /(+)" % M^qZl E^`Ze Ni]Zm^ IZkml * & +
   ! /(+)" % : G^p Ehhd Zm <hgmkZ\m EZp ! 0(++" % M^qZl E^`Ze Ni]Zm^ IZkml * & + ! 0(++" % >mab\l bg
    :`^ h_ =blknimbhg ! 0(++" % Ik^_hkfbg` JnZebmr ;IHl ! 0(++"

Ikhi^kmr Mri^l :iikZbl^]3
   :iikZblZe K^ob^pl               =Zr <Zk^ ?Z\bebmb^l      Fbgb PZk^ahnl^        K^lmZnkZgml
   :nmhfhmbo^ K^iZbk               >fbg^gm =hfZbg           Fh[be^ Ahf^ IZkdl     Lbg`e^ ?Zfber
   ;hq K^mZbe                      ?bk^ LmZmbhgl            Fnemb_Zfber           Lahiibg` <^gm^kl
   <Zk =^Ze^klabil                 Ahm^e(Fhm^el             H__b\^ ;nbe]bg`l      Ln[]boblbhgl
   <ank\a^l                        Bg]nlmkbZe               H__b\^ PZk^ahnl^l     OZ\Zgm EZg]
   <hgo^gb^g\^ Lmhk^l              F^]b\Ze H__b\^           KZg\a^l               OZkbhnl Hma^k

>qi^km Pbmg^ll3 AZkkbl% ;^qZk% ?hkm ;^g] Zg] Fhgm`hf^kr <hngmb^l

IZkmbZe Eblm h_ <eb^gml3
       3 :ee^`bZg\^% :nlmbg% ;Zgd h_ Ahnlmhg% <ZibmZe% <hf^kb\Z% <hffngbmr ;Zgd h_ MQ%
>iikZblZe% ?Ze\hg% *lm ?bgZg\bZe% *lm Eb[^kmr% *lm GZmbhgZe% *lk L^\nkbmr% *lm LmZm^% @nZkZgmr%
Bg]^i^g]^gm% Hkb`bg% IeZbgl <ZibmZe% Ikhli^kbmr% K^`bhgl% Lhnma Mknlm% M^qZl <bmbs^gl% M^qZg%
Mabk] <hZlm% Mknblm% MknlmfZkd% PZeebl% Phh]_hk^lm Zg] fZgr hma^kl'                              3
<hffngbmr K^lhnk\^ <N% Fh[be <N% La^ee ?<N% ?bo^ Ihbgm <N% L^\nkbmr ?<N% <aZf[^kl
<hngmr% AZkkbl <hngmr% <bmb^l h_ =Zrmhg% Ahnlmhg% ;^Znfhgm% Fm ;^eob^n Zg] IZlZ]^gZ% Zl p^ee
oZkbhnl Zmmhkg^rl% \hkihkZmbhgl% \k^]bm ngbhgl% bg]bob]nZel% bglnkZg\^ \hfiZgb^l% \hee^`^l% l\ahhe
]blmkb\ml% Zg] ZiikZblZe fZgZ`^f^gm \hfiZgb^l'
                                                   9
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F^f[^klabil% ;hZk]l% L^kob\^3
Ahnlmhg <aZim^k h_ ma^ :iikZblZe Bglmbmnm^ ;hZk] h_ =bk^\mhkl *22-&/4 IZlm <aZbk h_ >]n\Zmbhg
<aZbkfZg h_ ma^ ;hZk] +)).% ;hZk] h_ =bk^\mhkl +))*&/% F^f[^k *22)&+)*0 &Ghkma <aZgg^e
   :k^Z <aZf[^k h_ <hff^k\^4 <khl[r&An__fZg <aZf[^k h_ <hff^k\^ +)*0 • ik^l^gm
F^f[^k h_ LZg CZ\bgmh <hee^`^ ?hng]Zmbhg ;hZk] +))/&+))0
F^f[^k h_ ma^ KhmZkr <en[ h_ Ghkma Lahk^ &Ik^lb]^gm *221&*222 Zelh l^ko^] Zl Ik^lb]^gm&>e^\m%
     L^\k^mZkr% Mk^Zlnk^k Zg] L^k`^Zgm Zm :kfl bg ikbhk r^Zkl
KhmZkr =blmkb\m .12) :llblmZgm =blmkb\m @ho^kghk *222&+)))% +))2&+)*)4 <aZbkfZg h_ KhmZkr
   =blmkb\m .12) Ihebh Phke]pb]^ >kZ]b\Zmbhg <hffbmm^^ ! +))*&+% +))-&/"
<aZbkfZg h_ Ebo^ :n\mbhg _hk Ghkmalahk^ KhmZkr <Zm_bla ?kr & <kZp_bla ;hbe +))1&*.
AZo^ l^ko^] Zl Z li^\bZe \hffbllbhg^k _hk AZkkbl <hngmr <hnkm Zm EZp #, & #-
Ob\^ Ik^lb]^gm h_ AZkkbl <hngmr FN= #1% ?hkf^k OI h_ Phh]_hk^lm Ikh_^llbhgZe IeZsZ
Ik^lb]^gm h_ <khl[r Lihkml :llh\bZmbhg +))+&+))-% Rhnma ;Zl^[Zee <hZ\a *22.&+))-
IZlm F^f[^k h_ ;hZk] h_ =bk^\mhkl h_ ma^ _hkf^k ;kZshl OZee^r ;Zgd bg <hee^`^ LmZmbhg% M^qZl
F^f[^k h_ ?bklm ;Zimblm <ank\a bg <khl[r% ma^ GZmbhgZe :llh\bZmbhg h_ K^Zemhkl Zg] ma^ Ahnlmhg
;hZk] h_ K>:EMHKL §4 ;hZk] h_ ]bk^\mhkl% _hkf^k <aZbkfZg h_ ma^ ;hZk] • IZk^gm A^Zkm PZm\a%
<khl[r ?Zbk & Kh]^h% <aZgg^eob^p ??: ?Zbk% La^e]hg ??: ?Zbk • :n\mbhg ;nr^k
<aZbk^] Zg] l^ko^] hg gnf^khnl hma^k \hffbmm^^l _hk <aZf[^k h_ <hff^k\^% <khl[r Lihkml
:llh\bZmbhg% Ahnlmhg <aZim^k h_ :iikZblZe Bglmbmnm^% <ank\a Zg] hma^k \bob\ Zllh\bZmbhgl
Ik^lb]^gm h_ ma^ <h]r Lm^ia^gl @h ;b` hk @h Ahf^ F^fhkbZe ?hng]Zmbhg pab\a pZl ZpZk]^]
?hng]Zmbhg h_ ma^ R^Zk [r ma^ <khl[r An__fZg <aZf[^k h_ <hff^k\^  +)*-'

:pZk]l% Bgm^k^lml% ;Z\d`khng]
L^e^\m^] [r ma^ Ahnlmhg <akhgb\e^ Zl Z Ahnlmhg A^kh _hk +)*.
<khl[r An__fZg <aZf[^k h_ <hff^k\^ <bmbs^g h_ R^Zk  +)*+
KhmZkr Bgm^kgZmbhgZe3 Ghkma Lahk^ KhmZkr <en[ KhmZkbZg h_ ma^ R^Zk +)*)% KhmZkr Bgm^kgZmbhgZel
?hnk :o^gn^l h_ L^kob\^ <bmZmbhg _hk Bg]bob]nZe KhmZkbZgl +)),&+))-% KhmZkr Bgm^kgZmbhgZe
=blmkb\m .12)l KhmZkr ?hng]Zmbhg Lniihkm^k h_ R^Zk +)),&+))-% KhmZkr Bgm^kgZmbhgZel
Ik^lb]^gmbZe <bmZmbhg *221&*222% <h&Ik^lb]^gm h_ ma^ R^Zk _hk ma^ KhmZkr Bgm^kgZmbhgZe =blmkb\m
.12)% *221&*222% KhmZkr ?hng]Zmbhg IZne AZkkbl ?^eehplabi FZchk =hghk
Ahnlmhg <aZim^k h_ ma^ :iikZblZe Bglmbmnm^ *22+ Zg] *22, &D^r FZg :pZk]
IZmkbhmb\ >fiehr^k • H__b\^ h_ ma^ L^\k^mZkr h_ =^_^gl^ +)), & +)*+
Ghkma <aZgg^e <aZf[^k h_ <hff^k\^ &=^]b\Zm^] L^kob\^ :pZk]% +))0
>fiehr^kl bg\en]^ =hfbgr% ?hk] F\Ia^klhg & M^^e *21,&0% M^] Pabmf^k & :llh\bZm^l *210%
Pabmf^k & Lm^ia^gl% Bg\' *211' L\hmm Lm^ia^gl & :llh\bZm^l% Bg\ lbg\^ CZgnZkr *212'
Pabe^ Zm M^qZl :&F Ngbo^klbmr pZl Z f^f[^k h_ ma^ :eiaZ S^mZ Ahghk Lh\b^mr% ;Zimblm Lmn]^gm
Ngbhg% ;Zimblm Ahf^ Fbllbhg ;hZk] Lnff^k FbllbhgZkr *21*% =^Zgl Eblm% Lmn]^gm Ahnlbg`
=hkf A^Z] K^lb]^gm Zg] `kZ]nZm^] bg ,'. r^Zkl'
AZo^ l^ko^] Zl ahlm _Zfber _hk ^q\aZg`^ lmn]^gml Zg] rhng` ikh_^llbhgZel _khf :nlmkZebZ% <abe^%
@^kfZgr% BmZer Zg] L^k[bZ'
;hkg bg ;b` Likbg`% M^qZl% *+(/)' , \abe]k^g' Ah[[b^l bg\en]^ k^Z]bg`% hnm]hhk Z\mbobmb^l% Zllblmbg`
lmn]^gml pbma -A Zg] ??: ebo^lmh\d lahp ikhc^\ml% ma^ ibggZ\e^ h_ pab\a bg\en]^] fr ^e]^lm lhg
pbggbg` K^l^ko^ @kZg] <aZfibhg Lm^^k Zm ma^ AEL&K bg +))/' I^klhgZe Ghm^3 Fr rhng`^lm lhg%
<h]r% ]b^] hg FZr /% +)*+ Zm ma^ Z`^ h_ *1' A^ pZl Zg Zmae^m^ ik^iZkbg` _hk \hee^`^ _hhm[Zee' B Zf
ghp Z\mbo^er bgoheo^] ikhfhmbg` a^Zkm l\k^^gbg` bg hnk rhnma makhn`ahnm ma^ lmZm^ h_ M^qZl' B
phkd pbma M^qZl l\ahhe ]blmkb\ml ikhfhmbg` ma^ bg\enlbhg h_ a^Zkm l\k^^gbg`l ! ><@l" pbma ma^bk
lmn]^gm iarlb\Zel' Bg +)*,% +)*.% +)*0 Zg] +)*2 [beel p^k^ bgmkh]n\^] bg ma^ M^qZl E^`bleZmnk^ mh
fZd^ mabl Z iZkm h_ ma^ lmn]^gm iarlb\Zel Zm fr k^jn^lm' Ma^ [bee iZll^] Zg] [^\Zf^ <h]rl EZp
A;0/ bg L^im^f[^k h_ +)*2% fZdbg` M^qZl ma^ _bklm lmZm^ mh aZo^ mabl eZp' Ma^ eZp aZl ghp
iZll^] bg I^gglreoZgbZ Zg] [^^g bgmkh]n\^] bg fZgr hma^k lmZm^l' ?hk fhk^ bg_hkfZmbhg hk `h mh
ppp'\h]rlm^ia^gl_hng]Zmbhg'hk` hk _heehp nl hg ?Z\^[hhd'
                                                10
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                        JN:EB?B<:MBHGL H?
      MA> AHGHK:;E> KR:G CHL>IA =:@E>R% F:B% <A:F;>KL <HNGMR
                       <HFFBLLBHG>K I<M -




Ikh_^llbhgZe :__bebZmbhgl3
        F:B &=^lb`gZm^] F^f[^k h_ ma^ :iikZblZe Bglmbmnm^ #--+))+
        LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^k Eb\^gl^ #MQ&*,,.+)1&@

>]n\ZmbhgZe ;Z\d`khng]3
       Ghkma Lahk^ Ab`a L\ahhe&Ahnlmhg% M^qZl FZr&*220
       Ngbo^klbmr h_ Ahnlmhg Ahnlmhg% M^qZl &@kZ]nZm^ pbma ;Z\a^ehk h_ ;nlbg^ll :]fbgblmkZmbhg &
       =^`k^^% FZr% +))+

K^\^gm <hgmbgnbg` >]n\Zmbhg <hfie^m^]3
       ;Zlb\ Ahm^e :iikZblbg` Ebfbm^] L^kob\^ Ahm^el ! -(,(+)*2% :iikZblZe h_ EZg] ln[c^\m mh @khng]
       E^Zl^l ! -(1(+)*2" % :iikZblZe h_ ?Zlm _hh] ?Z\bebmb^l ! -(*(+)*2" % NLI:I Ni]Zm^ ! -(+-(+)*2" %
       K^lb]^gmbZe Ikhi^kmr Bgli^\mbhg _hk :iikZbl^kl ! .(+)*0" % :iikZblZe h_ Hpg^k H\\nib^] Ikhi^kmb^l
       ! .(+)*0" % :iikZblZe h_ K>H Ikhi^kmb^l ! .(+)*0" % ;nlbg^ll IkZ\mb\^ Zg] >mab\l ! .(+)+)"

<nkk^gm >fiehrf^gm3
      L\hmm Lm^ia^gl & :llh\bZm^l% Bg\'% Ahnlmhg% M^qZl&Lbg\^ +))+%
      Ob\^ Ik^lb]^gm Lbg\^ CZgnZkr +)**
      GZf^] Ik^lb]^gm bg CZgnZkr +)+)

Ikhi^kmr Mri^l :iikZbl^]3
       :iZkmf^gml                     ?Zkf Zg] KZg\a      Fh[be^ Ahf^ IZkdl       K^mZbe <^gm^kl
       ;Zgdl                          Ahm^el(Fhm^el       H__b\^ ;nbe]bg`l        Lbg`e^ ?Zfber
       ;hZm(KO LmhkZ`^                Bg]nlmkbZe IeZgml   H__b\^ L^kob\^          Lbg`e^ M^gZgm K^mZbe
       <ank\a^l                       Eb`am Bg]nlmkbZe    H__b\^ PZk^ahnl^        Li^\bZe Inkihl^
       <hff^k\bZe =^o^ehif^gml        F^]b\Ze H__b\^      KZp EZg]                Ln[]boblbhgl
       <hg]^fgZmbhg                   Fbgb&pZk^ahnl^l     K^lmZnkZgml             OZkbhnl Hma^k

>qi^km Pbmg^ll3 AZkkbl% C^__^klhg% Zg] @Zeo^lmhg <hngmb^l

IZkmbZe Eblm h_ <eb^gml3
        ;Zgdl3 :ee^`bZg\^% :f^`r% :nlmbg% ;Zk[^kl Abee% ;;&M% <ZibmZe% <hffngbmr ;Zgd h_ M^qZl%
        ;;O: <hfiZll% >Zlm <aZf[^kl% >iikZblZe% ?Ze\hg% *lm ?bgZg\bZe% *lm Eb[^kmr% *lm GZmbhgZe% *lm
        LmZm^% A^kbmZ`^% Bg]^i^g]^gm% Bgm^`kbmr% FZbgeZg]% GZmbhgZe Ngbm^]% Hkb`bg% IeZbgl <ZibmZe%
        Ikhli^kbmr% K^`bhgl% Libkbm h_ M^qZl% Lhnma Mknlm% M ;Zgd% M^qZl <bmbs^gl% Mabk] <hZlm% Mknblm%
        MknlmfZkd% PZeebl Lm% Phh]_hk^lm% Sbhgl *lm GZmbhgZe Zg] fZgr hma^kl' :]]bmbhgZe <eb^gml3
        <hffngbmr K^lhnk\^ <N% Fh[be^ <N% La^ee ?<N% LfZkm ?^]^kZe <N% ?bo^ Ihbgm <N% <aZf[^kl




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JnZeb_b\Zmbhgl h_ KrZg C' =Z`e^r% F:B% \hgmbgn^]3

       <hngmr% AZkkbl <hngmr% LmZm^ h_ M^qZl% N'L' :kfr <hkil h_ >g`bg^^kl% <bmb^l h_ =Zrmhg%
       Ahnlmhg% ;^Znfhgm% Fm ;^eob^n Zg] IZlZ]^gZ% Zl p^ee oZkbhnl fngb\biZe nmbebmr ]blmkb\ml%
       ^f^k`^g\r l^kob\^ ]blmkb\ml% Zmmhkg^rl% \hkihkZmbhgl% \k^]bm ngbhgl% bg]bob]nZel% bglnkZg\^
       \hfiZgb^l% \hee^`^l% l\ahhe ]blmkb\ml% Zg] ZiikZblZe fZgZ`^f^gm \hfiZgb^l'


;bh`kZiab\Ze ;Z\d`khng]3
       ;hkg bg ;Zrmhpg% M^qZl% FZr *202' <hfie^m^] ikbfZkr Zg] l^\hg]Zkr ^]n\Zmbhg bg Ahnlmhg%
       M^qZl% FZr *220' :mm^g]^] M^qZl :&F Ngbo^klbmr _khf *220&*221% LZg CZ\bgmh Cngbhk <hee^`^
       _khf *221&*222% Zg] ma^ Ngbo^klbmr h_ Ahnlmhg _khf *222&+))+' FZr h_ +))+% ^Zkg^] [Z\a^ehkl
       ]^`k^^ bg ;nlbg^ll :]fbgblmkZmbhg' FZkkb^] pb_^ Blbl bg /(+))+ Zg] aZo^ mph \abe]k^g ! KrZg
       =Z`e^r Ck Zg] DZreZ =Z`e^r" ' AZo^ phkd^] bg ma^ _b^e] h_ k^Ze ^lmZm^ ZiikZblZe lbg\^ +))+% Zg]
       ghp Ik^lb]^gm h_ L\hmm Lm^ia^gl & :llh\bZm^l% Bg\' ;^\Zf^ Z F^f[^k h_ ma^ :iikZblZe Bglmbmnm^
       bg Cng^ +)*.'

       F^f[^klabil% ;hZk]l% L^kob\^3 F^f[^k h_ ma^ KhmZkr <en[ h_ Ghkma Lahk^ &L^k`^Zgm Zm :kfl
       bg +))1% <hffngbmr L^kob\^ <aZbkfZg +))2% +)*,% +)*-% +)*.% +)*/% <aZbkfZg h_ OBI
       <hffbmm^^ _hk Ghkmalahk^ KhmZkr <Zm_bla ?kr & <kZp_bla ;hbe +))0 mbe +)*1% Fnembie^ IZne
       AZkkbl ?^eehp&FZchk =hghk% Ghkma Lahk^ KhmZkr <en[ KhmZkbZg h_ ma^ R^Zk +)*.% ;hZk] h_
       =bk^\mhk _hk Ghkma Lahk^ KhmZkr +)*.&+)*1% Mk^Zlnk^k h_ ma^ Ghkma Lahk^ KhmZkr +)*/&+)*0%
       L^\k^mZkr h_ ma^ Ghkma Lahk^ KhmZkr <en[ +)*0&+)*1% Ik^lb]^gm&>e^\m h_ ma^ Ghkma Lahk^ KhmZkr
       <en[ +)*1&+)*2% Ik^lb]^gm h_ ma^ Ghkma Lahk^ KhmZkr <en[ +)*2&+)+)% Ik^lb]^gm h_ @k^^g[kbZk
       >lmZm^l AH: _khf +))1&+)*.% Ghkma <aZgg^e :k^Z <aZf[^k h_ <hff^k\^ f^f[^k +))-&+)*+%
       P^lm <aZf[^kl <hngmr <aZf[^k h_ <hff^k\^ F^f[^k&+)*0&Ik^l^gm% Ghkma <aZgg^e :k^Z
       <aZf[^k h_ <hff^k\^ • +)**&+)*+% ;hZk] h_ =bk^\mhkl% Rhnma ;Zl^[Zee <hZ\a +)*)&+)*2%
       ;hZk] h_ =bk^\mhk _hk ma^ <h]r Lm^ia^gl @h ;b` hk @h Ahf^ ?hng]Zmbhg% E^^ <hee^`^ >]n\Zmbhg
       ?hng]Zmbhg&=bk^\mhk% :e]^kfZg _hk ;^Z\a <bmr +)*2&+)+)% FZrhk h_ ;^Z\a <bmr% M^qZl +)+)&
       +)++% <aZf[^kl <hngmr <hffbllbhg^k I\m - +)+,&Ik^l^gm




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                         JN:EB?B<:MBHGL H? D:MB> :' F<@BGGBL




                                                  "))# $'#%&


Ikh_^llbhgZe :__bebZmbhgl3
        M^qZl LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^k • Eb\^gl^ # MQ&*,1*)*+ @

>]n\ZmbhgZe ;Z\d`khng]3
       M^qZl :&F Ngbo^klbmr% <hee^`^ h_ :`kb\nemnk^ Zg] Eb_^ L\b^g\^l% <hee^`^ LmZmbhg% MQ4
       ;Z\a^ehk h_ L\b^g\^% :gbfZe L\b^g\^ &FZr +)*+

K^\^gm <hgmbgnbg` >]n\Zmbhg <hfie^m^]3
       :iikZblZe Bglmbmnm^3 @^g^kZe :iikZbl^k LZe^l <hfiZkblhg :iikhZ\a ! 1(*0(+)*1" % @^g^kZe :iikZbl^k
       Bg\hf^ :iikhZ\a IZkm * ! 2(*-(+)*1" % @^g^kZe :iikZbl^k Lbm^ OZenZmbhg Zg] <hlm :iikhZ\a
       ! *)(/(+)*1" % @^g^kZe :iikZbl^k Bg\hf^ :iikhZ\a IZkm + ! *)(*/(+)*1" % @^g^kZe :iikZbl^k K^ihkm
        Pkbmbg` Zg] <Zl^ Lnm]b^l ! *)(+)(+)*1" % K^Ze >lmZm^ ?bgZg\^% LmZmblmb\l% Zg] OZenZmbhg Fh]^ebg`
        ! **(,)(+)*1" % @^g^kZe :iikZbl^k FZkd^m :gZerlbl Zg] Ab`a^lm Zg] ;^lm Nl^ ! +(+1(+)*2" % :]oZg\^]
         Bg\hf^ <ZibmZebsZmbhg ! .(,(+)*2"
         F\Dbllh\d3 ;Zlb\ :iikZblZe Ikbg\bie^l ! *+(*.(+)*0" % ;Zlb\ :iikZblZe Ikh\^]nk^l ! *(+1(+)*1" % *.&
         ak GZmbhgZe NLI:I <hnkl^ ! -(++(+)*1"

<nkk^gm >fiehrf^gm3
      L\hmm Lm^ia^gl Zg] :llh\bZm^l% Bg\'% Ahnlmhg% M^qZl • Lbg\^ Cner +)*1% Eb\^gl^] K^Ze >lmZm^
      :iikZbl^k

Ikhi^kmr Mri^l :iikZbl^]3
       :iZkmf^gml                      ?Zkf Zg] KZg\a       Fh[be^ Ahf^ IZkdl        K^mZbe <^gm^kl
       ;Zgdl                           Ahm^el(Fhm^el        H__b\^ ;nbe]bg`l         Lbg`e^ ?Zfber
       ;hZm(KO LmhkZ`^                 Bg]nlmkbZe IeZgml    H__b\^ L^kob\^           Lbg`e^ M^gZgm K^mZbe
       <ank\a^l                        Eb`am Bg]nlmkbZe     H__b\^ PZk^ahnl^         Li^\bZe Inkihl^
       <hff^k\bZe =^o^ehif^gml         F^]b\Ze H__b\^       KZp EZg]                 Ln[]boblbhgl
       <hg]^fgZmbhg                    Fbgb&pZk^ahnl^l      K^lmZnkZgml              OZkbhnl Hma^k


;bh`kZiab\Ze ;Z\d`khng]3
       ;hkg bg Ahnlmhg% M^qZl% FZk\a h_ *22)' <hfie^m^] ikbfZkr Zg] l^\hg]Zkr ^]n\Zmbhg bg <khl[r
       Bg]^i^g]^gm L\ahhe =blmkb\m bg FZr h_ +))1' :mm^g]^] M^qZl :&F Ngbo^klbmr _khf ma^ _Zee h_ +))1
       makhn`a FZr h_ +)*+' Bg FZr h_ +)*+% B pZl ZpZk]^] Z [Z\a^ehkl ]^`k^^ bg :gbfZe L\b^g\^' Bg
       ma^ _bo^ r^Zkl Z_m^k `kZ]nZmbhg% B phkd^] Zl Z m^Z\a^k _hk <khl[r Bg]^i^g]^gm L\ahhe ]blmkb\m%
       m^Z\abg` oZkbhnl ln[c^\ml bg\en]bg` Iarlb\l% O^m^kbgZkr F^]b\bg^% Zg] :gbfZe L\b^g\^' B [^`Zg
       phkdbg` Zm L\hmm Lm^ia^gl Zg] :llh\bZm^l% Bg\ Zl Z k^Ze ^lmZm^ ZiikZbl^k mkZbg^^ bg Cner +)*1' ;^\Zf^
       Z LmZm^ h_ M^qZl Eb\^gl^] :iikZbl^k bg Cner h_ +)+)'




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                                                                                                                                                   File No. 16489

                                                                              LOCATION MAP
         Borrower or Owner:
         Subject Address: EL of Hogan Ln                                                                              Census Tract: 6805.02
         City: Hempstead                 County: Waller                                                               State: TX         Zip Code: 77445
         Lender or Client:                                                                                            Lat: 30.120109    Long:FM-96.107393
                                                                                                                                                2 Rd




                                                                                                                                                                                N
                                                                                                                               * 66




                                                                                                                       TX-6
                                                                                                                 FM 1736 Rd
Main St
 Highway 290 E




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                              290
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                                                                                                              290
                                                                                                              290




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                                          159
                                          159




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                                                                                                                                                             Miles
                                                                                                                                  Copyright 1994-2022, MapPro Inc.
                     The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
    CAUTION:         addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.

                                                                                            18
                           Prepared by Scott Stephens & Associates, Inc. using MapPro Service. MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
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                                INKIHL> H? MA> :IIK:BL:E

        Ma^ inkihl^ h_ mabl ZiikZblZe bl mh ^lmbfZm^ ma^ Zl bl fZkd^m oZen^ h_ ma^ _^^ lbfie^ ^lmZm^
h_ ma^ ln[c^\m ikhi^kmr [^bg` ]^l\kb[^] Zl3

               )'..., Z\k^l hk +-%
                                 ,2- ljnZk^ _^^m h_ eZg] [^bg` ;eh\d *%Ehm ./%
               E^`^g]Zkr HZdl Ln[]boblbhg%PZee^k <hngmr%M^qZl'

                               IKHI>KMR KB@AML :IIK:BL>=

        Ma^ ikhi^kmr kb`aml ZiikZbl^] Zk^ ma^ _^^ lbfie^ ^lmZm^ h_ ma^ ln[c^\m ikhi^kmr%ln[c^\m mh
^qblmbg` ^Zl^f^gml%k^lmkb\mbhgl%Zg] ikbhk ^g\nf[kZg\^l'

                              =>?BGBMBHG H? F:KD>M O:EN>

               FZkd^m oZen^ f^Zgl ma^ fhlm ikh[Z[e^ ikb\^ pab\a Z ikhi^kmr lahne] [kbg`
       bg Z \hfi^mbmbo^ Zg] hi^g fZkd^m ng]^k Zee \hg]bmbhgl k^jnblbm^ mh Z _Zbk lZe^%ma^
       [nr^k Zg] l^ee^k ^Z\a Z\mbg` ikn]^gmer Zg] dghpe^]`^Z[er%Zg] Zllnfbg` ma^ ikb\^
       bl ghm Z__^\m^] [r ng]n^ lmbfnenl' Bfieb\bm bg mabl ]^_bgbmbhg bl ma^ \hglnffZmbhg
       h_ Z lZe^ Zl h_ Z li^\b_b^] ]Zm^ Zg] ma^ iZllbg` h_ mbme^ _khf l^ee^k mh [nr^k ng]^k
       \hg]bmbhgl pa^k^[r3

           & ;nr^k Zg] l^ee^k Zk^ mrib\Zeer fhmboZm^]4
           & ;hma iZkmb^l Zk^ p^ee bg_hkf^] hk p^ee Z]obl^]%Zg] Z\mbg` bg paZm ma^r
             \hglb]^k ma^bk hpg [^lm bgm^k^lml4
           & : k^ZlhgZ[e^ mbf^ bl Zeehp^] _hk ^qihlnk^ bg ma^ hi^g fZkd^m4
           & IZrf^gm bl fZ]^ bg m^kfl h_ \Zla bg N'L' ]heeZkl hk bg m^kfl h_ _bgZg\bZe
             ZkkZg`^f^gml \hfiZkZ[e^ ma^k^mh4 Zg]
           & Ma^ ikb\^ k^ik^l^gml ma^ ghkfZe \hglb]^kZmbhg _hk ma^ ikhi^kmr lhe]
             ngZ__^\m^] [r li^\bZe hk \k^Zmbo^ _bgZg\bg` hk lZe^l \hg\^llbhgl `kZgm^] [r
             Zgrhg^ Zllh\bZm^] pbma ma^ lZe^'

           Lhnk\^l3 H<< K^`neZmbhgl% Gh' *+& <?K& Ln[iZkm <& ,-'-+! `" Mbme^ QB h_ ma^
           ?BKK>: :\m h_ *212% Bgm^kZ`^g\r :iikZblZe Zg] >oZenZmbhg @nb]^ebg^l h_
           =^\^f[^k% +)*)'

       Ghm^3 Ma^ ZiikZbl^k ]^_bg^l ma^ k^ZlhgZ[e^ ^qihlnk^ mbf^ Zl *+ fhgmal'

                         F:KD>MBG@ MBF> :G= >QIHLNK> MBF>

       Ma^ ^qihlnk^ mbf^ bl ma^ ^lmbfZm^] e^g`ma h_ mbf^ ma^ ikhi^kmr bgm^k^lm [^bg` ZiikZbl^]
phne] aZo^ [^^g h__^k^] hg ma^ fZkd^m mh ma^ arihma^mb\Ze \hglnffZmbhg h_ Z lZe^ Zm fZkd^m oZen^
hg ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe' Ma^ fZkd^mbg` mbf^ bl Zg hibgbhg h_ ma^ Zfhngm h_ mbf^ bm
fb`am mZd^ mh l^ee ma^ ikhi^kmr bgm^k^lm [^bg` ZiikZbl^] Zm ma^ \hg\en]^] fZkd^m oZen^ e^o^e ]nkbg`




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ma^ i^kbh] bff^]bZm^er Z_m^k ma^ ^__^\mbo^ ]Zm^ h_ Zg ZiikZblZe' Bg mabl \Zl^%ma^ ^qihlnk^ mbf^ Zg]
fZkd^mbg` mbf^ bl ^lmbfZm^] mh [^ ZiikhqbfZm^er *+ fhgmal%pab\a bl [Zl^] hg bgm^kob^pl pbma
fZkd^m iZkmb\biZgml%ZgZerlbl h_ ma^ lZe^l \hfiZkblhg ZiikhZ\a Zg] bgo^lmhk lnko^rl'

                              >??><MBO> =:M> H? :IIK:BL:E
                                  =:M> H? MA> K>IHKM


         Ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe _hk ma^ Zl bl oZen^ bl =^\^f[^k +1%+)++%ma^ ]Zm^ h_
ma^ lbm^ oblbm' Ma^ ]Zm^ h_ ma^ k^ihkm bl =^\^f[^k +2%+)++'

                            BGLMKN<MBHGL MH MA> :IIK:BL>K

        Ma^ ZiikZbl^kl p^k^ bglmkn\m^] [r ma^ \eb^gm mh \hg]n\m Zg Zl bl fZkd^m oZen^ ZiikZblZe h_
ma^ _^^ lbfie^ ^lmZm^ h_ ma^ ln[c^\m ikhi^kmr' =ZmZ ikhob]^] [r ma^ \eb^gm bg\en]^l e^`Ze ]^l\kbimbhg
h_ ma^ ln[c^\m ikhi^kmr Zg] li^\b_b\ ZiikZblZe `nb]^ebg^l'

                                  L<HI> H? MA> :IIK:BL:E

        Mabl bl Z LnffZkr :iikZblZe K^ihkm' Bm ik^l^gml ]bl\nllbhgl h_ ma^ ]ZmZ%k^Zlhgbg`%Zg]
ZgZerl^l maZm p^k^ nl^] bg ma^ ZiikZblZe ikh\^ll mh ]^o^ehi ma^ ZiikZbl^k l hibgbhg h_ oZen^' Ma^
]^ima h_ ]bl\nllbhg Zg] ZgZerl^l \hgmZbg^] bg mabl k^ihkm bl li^\b_b\ mh ma^ g^^]l h_ ma^ \eb^gm Zg] _hk
ma^ bgm^g]^] nl^ lmZm^] bg mabl k^ihkm' Ma^ ZiikZbl^k bl ghm k^lihglb[e^ _hk ngZnmahkbs^] nl^ h_ mabl
k^ihkm'
        Ma^ m^kf "^qm^gm h_ ma^ k^l^Zk\a" k^eZm^l mh ma^ ^qm^gm h_ ma^ ikh\^ll h_ \hee^\mbg`%
\hg_bkfbg`%Zg] k^\hk]bg` ]ZmZ' :ee lhnk\^l h_ bg_hkfZmbhg aZo^ [^^g ]h\nf^gm^] makhn`ahnm ma^
k^ihkm Zg] ma^ ZiikZbl^kl k^eb^] hg ma^ Z\\nkZ\r h_ ma^l^ lhnk\^l' Ahp^o^k%bm bl ln``^lm^] [r ma^
ZiikZbl^k maZm ma^ \eb^gm k^Z] Zg] _neer ng]^klmZg] ma^ Zllnfimbhgl Zg] ebfbmbg` \hg]bmbhgl l^m _hkma
pbmabg Zl mh ma^ ^qm^gm h_ k^lihglb[bebmr h_ ma^ ZiikZbl^k'
        Ma^ ZiikZblZe pZl \hg]n\m^] bg \hg_hkfbmr pbma ma^ >mab\l Zg] LmZg]Zk]l h_ Ma^ :iikZblZe
Bglmbmnm^%ma^ LmZm^ h_ M^qZl%ma^ Ngb_hkf LmZg]Zk]l h_ Ikh_^llbhgZe :iikZblZe IkZ\mb\^ ! NLI:I"%
Zg] `nb]^ebg^l k^jn^lm^] [r ma^ \eb^gm' Mabl ZiikZblZe \hglb]^kl ma^ eZg] lZe^l \hfiZkblhg ZiikhZ\a
mh oZen^%[nm ghm ma^ \hlm ZiikhZ\a mh oZen^ hk ma^ bg\hf^ ZiikhZ\a mh oZen^ [^\Znl^ ma^ ln[c^\m
k^ik^l^gml oZ\Zgm eZg]'
        Ma^ k^l^Zk\a bg\en]^] \hfiZkZ[e^ lZe^l h_ eZg] pbma lbfbeZk iarlb\Ze \aZkZ\m^kblmb\l%
h\\nkkbg` bg ma^ iZlm mak^^ r^Zkl pbmabg ma^ ln[c^\m Zk^Z' :ee h_ ma^ eZg] lZe^l bg\en]^] bg mabl
ZgZerlbl p^k^ \hg_bkf^] [r L\hmm Lm^ia^gl Zg] :llh\bZm^l%Bg\' Lhf^ h_ ma^ bm^fl pab\a p^k^
o^kb_b^] bg ma^ \hg_bkfZmbhg ikh\^ll bg\en]^ ma^ lZe^ ikb\^l%k^\hk]bg` ]ZmZ%iarlb\Ze Zg] bg\hf^
\aZkZ\m^kblmb\l%Zg] hma^k obmZe bg_hkfZmbhg ZoZbeZ[e^ _khf ma^ `kZgmhk hk `kZgm^^%Zg] _khf Z\mnZe
]^^] k^\hk]l Zl k^ihkm^] [r oZkbhnl k^ihkmbg` l^kob\^l hk \hngmr Z`^g\b^l'


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        DZbe^r @beebg`l%:iikZbl^k MkZbg^^ MQ&*,-,-)2%aZl ikhob]^] lb`gb_b\Zgm ikh_^llbhgZe
ZllblmZg\^ mh ma^ i^klhgl lb`gbg` mabl k^ihkm%bg\en]bg` Zllblmbg` bg ma^ lbm^ oblbm h_ ma^ ln[c^\m
ikhi^kmr%k^l^Zk\abg` g^b`a[hkahh] Zg] fZkd^m bg_hkfZmbhg%Zg] k^l^Zk\a h_ \hfiZkZ[e^ lZe^l h_
eZg] pbma lbfbeZk iarlb\Ze \aZkZ\m^kblmb\l'
        Ma^ lbm^ oblbm mh ma^ ln[c^\m ikhi^kmr pZl \hg]n\m^] hg =^\^f[^k +1%+)++' Ma^ ln[c^\m
ikhi^kmr \hglblml h_ ZiikhqbfZm^er )'..., Z\k^l hk +-%   ,2- ljnZk^ _^^m mkZ\m h_ oZ\Zgm eZg]' Ie^Zl^
ghm^%ma^ ln[c^\m bl Z oZ\Zgm ehm pbmabg ma^ E^`^g]Zkr HZdl Ln[]boblbhg%pab\a bl Z ikboZm^%`Zm^]
g^b`a[hkahh]' : ikhi^kmr oblbm mh ma^ ln[c^\m lbm^ Zg] h_ ma^ lnkkhng]bg` ^gobkhgf^gm pZl
\hg]n\m^]'
        <HOB=& *2 ! <hkhgZobknl" 3 Ma^ `eh[Ze hnm[k^Zd h_ Z gho^e \hkhgZobknl dghpg Zl
<HOB=&*2 pZl h__b\bZeer ]^\eZk^] Z iZg]^fb\ [r ma^ Phke] A^Zema Hk`ZgbsZmbhg ! PAH"' Ma^
k^Z]^k bl \Znmbhg^] Zg] k^fbg]^] maZm ma^ \hg\enlbhgl ik^l^gm^] bg mabl ZiikZblZe k^ihkm Ziier hger
Zl h_ ma^ ^__^\mbo^ ]Zm^! l" bg]b\Zm^]' Ma^ ZiikZbl^k fZd^l gh k^ik^l^gmZmbhg Zl mh ma^ ^__^\m hg ma^
ln[c^\m ikhi^kmr h_ Zgr ng_hk^l^^g ^o^gm%ln[l^jn^gm mh ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe'
        Ma^ <HOB=&*2 hk <hkhgZobknl `eh[Ze iZg]^fb\ Zkkbo^] bg Ngbm^] LmZm^l bg eZm^ CZgnZkr h_
+)+) nge^Zlabg` ngik^\^]^gm^] in[eb\ `Zma^kbg` k^lmkb\mbhgl [r FZk\a h_ +)+)' Ma^ ehg`&Zg]
lahkm&m^kf fZkd^m bfiZ\m _khf <hob]&*2 bl bg ]^m^kfbgbg` ma^ fZkd^m oZen^ \hg\enlbhg'
        Ma^ ZmmZ\a^] k^ihkm ik^l^gml Zee _Z\mnZe dghpe^]`^ \hg\^kgbg` ma^ ln[c^\m ikhi^kmr mh
bg\en]^ bml iarlb\Ze \aZkZ\m^kblmb\l%\aZkZ\m^kblmb\l h_ ma^ `^g^kZe Zk^Z%g^b`a[hkahh] Zg] ma^
bff^]bZm^ fZkd^m' :_m^k ik^l^gmbg` _Z\mnZe dghpe^]`^ \hg\^kgbg` ma^ ln[c^\m ikhi^kmr Zg] bml
fZkd^m%ma^ eZg] lZe^l \hfiZkblhg ZiikhZ\a mh oZen^ Zk^ ZgZers^] Zg] Z _bgZe oZen^ ^lmbfZm^ bl
k^\hg\be^] Zg] b]^gmb_b^]'

                                 <HFI>M>G<R IKHOBLBHG

        Bm bl ik^l^gm^] maZm mabl k^ihkm pZl \hfie^m^] [r L\hmm I' Lm^ia^gl%F:B%:B&@KL%KrZg
Chl^ia =Z`e^r%F:B%DZmb^ F\@bggbl%Zg] DZbe^r @beebg`l' L\hmm Lm^ia^gl Zg] KrZg =Z`e^r ahe]
ma^ F:B ]^lb`gZmbhg ZpZk]^] [r ma^ :iikZblZe Bglmbmnm^%Zg] Zk^ \nkk^gmer \^kmb_b^] ng]^k ma^
\hgmbgnbg` ^]n\ZmbhgZe ikh`kZfl' ?nkma^k%mabl ]^lb`gZmbhg bl a^e] [r ZiikZbl^kl ^qi^kb^g\^] bg ma^
oZenZmbhg Zg] ^oZenZmbhg h_ \hff^k\bZe%bg]nlmkbZe%k^lb]^gmbZe%Zg] hma^k mri^l h_ ikhi^kmb^l4 Zg]
pah Z]obl^ \eb^gml hg k^Ze ^lmZm^ bgo^lmf^gm ]^\blbhgl' KrZg =Z`e^r%L\hmm Lm^ia^gl%Zg] DZmb^
F\@bggbl Zk^ LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^kl%Zg] Zk^ \nkk^gmer \^kmb_b^] ng]^k ma^
\hgmbgnbg` ^]n\ZmbhgZe ikh`kZfl' Ma^ ZiikZbl^kl aZo^ \hfie^m^] gnf^khnl ZiikZblZe Zllb`gf^gml
hg ikhi^kmb^l ln\a Zl ma^ ln[c^\m Zg] aZo^ ma^ ^qi^kb^g\^ Zg] Z[bebmr mh \hfie^m^ ma^ ZiikZblZe bg Z
\hfi^m^gm fZgg^k' ?hk Z fhk^ ]^mZbe^] ]^l\kbimbhg h_ ma^ ZiikZbl^k l jnZeb_b\Zmbhgl%k^_^k mh ma^
bgmkh]n\mbhg l^\mbhg h_ mabl ZiikZblZe' DZbe^r @beebg`l%:iikZbl^k MkZbg^^ MQ&*,-,-)2 aZl ikhob]^]
lb`gb_b\Zgm ikh_^llbhgZe ZllblmZg\^ mh ma^ i^klhgl lb`gbg` mabl k^ihkm Zg] bl Z MkZbg^^ ng]^k Fk'


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L\hmm Lm^ia^gl%F:B%:B&@KL' DZbe^r @beebg`l bl Z mkZbg^^ Zg] bl ng]^k ma^ \hgmbgnbg` ^]n\ZmbhgZe
ikh`kZfl _khf ma^ M:E<;'

              BGM>G=>= NL>K :G= BGM>G=>= NL> H? MA> :IIK:BL:E
                         B=>GMB?B<:MBHG H? <EB>GM


        Ma^ bgm^g]^] nl^ h_ ma^ ZiikZblZe bl _hk ma^ bgm^kgZe nl^ h_ ma^ \eb^gm ! :iikZblZe F<" _hk
Zll^m ^oZenZmbhg Zg] ZgZerlbl' Ma^ bgm^g]^] nl^k h_ mabl ZiikZblZe bl :iikZblZe F<'


                                 ABLMHKR H? MA> LN;C><M


         :\\hk]bg` mh ma^ PZee^k <hngmr :iikZblZe =blmkb\m ! P<:="%ma^ ln[c^\m bl Z )'...,&Z\k^ hk
+-% ,2- ljnZk^ _^^m mkZ\m h_ eZg]' I^k ma^ PZee^k <hngmr :iikZblZe =blmkb\m ! P<:="%ma^ ln[c^\m bl
ng]^k ma^ hpg^klabi gZf^ h_ <;M @khni EE<%pah aZl hpg^] ma^ ln[c^\m _hk e^ll maZg mak^^ r^Zkl
! lbg\^ ?^[knZkr +1%+)++ i^k P<:="' Ma^ ln[c^\m ehm bl Z oZ\Zgm mkZ\m h_ eZg] pbmabg ma^ E^`^g]Zkr
 HZdl Ln[]boblbhg Zg] Z\\^ll^] obZ k^fhm^ `Zm^ ^gmkr' <nkk^gmer%ma^ ln[c^\m bl eblm^] _hk lZe^ _hk
 $1)% ))) hk $,'+* i^k ljnZk^ _hhm' Ma^k^ aZo^ [^^g gh hma^k dghpg \hgo^rZg\^l h_ mbme^ _hk ma^
 ln[c^\m pbmabg ma^ iZlm mak^^ r^Zkl'


                                     K>:E >LM:M> M:Q>L

        Ma^ PZee^k <hngmr :iikZblZe =blmkb\m eblml ma^ hpg^klabi gZf^ h_ <;M @khni EE<
! ikhi^kmr B= *1/2*2"' <hib^l h_ ma^ ln[c^\ml P<:= mZq bg_hkfZmbhg iZ`^l Zk^ bg\en]^] pbmabg ma^
 :]]^g]Z l^\mbhg' Ma^ \nkk^gm ! +)++" mhmZe Zll^ll^] oZenZmbhg _hk ma^ ln[c^\m ikhi^kmr bl $0*%
                                                                                              ,/)%h_
 pab\a *))% bl Zmmkb[nm^] mh ma^ eZg]' Ma^ ln[c^\m ikhi^kmr bl pbmabg ma^ mZqbg` cnkbl]b\mbhgl h_ ma^
 <bmr h_ A^film^Z]%PZee^k&AZkkbl >f^k`^g\r L^kob\^ =blmkb\m +))%PZee^k <hngmr%PZee^k <hngmr
?F%Zg] A^film^Z] Bg]^i^g]^gm L\ahhe =blmkb\m' Ma^ \nkk^gm ! +)++" mhmZe mZq kZm^ bl $+',,.*-- i^k
$*)) bg Zll^ll^] oZen^' Manl%ma^ \nkk^gm mhmZe bg]b\Zm^] mZq ebZ[bebmr _hk ma^ ln[c^\m [Zl^] hg ma^
Z[ho^ ^lmbfZm^] Zll^ll^] oZen^ h_ ma^ ln[c^\m bl $*%
                                                   ///' § Mabl k^ihkm Zllnf^l Zee mZq^l Zk^ iZb] mh
]Zm^'

                                        <BMR :G:ERLBL


       Ma^ Ahnlmhg&Ma^ Phh]eZg]l&Ln`Zk EZg] F^mkhihebmZg LmZmblmb\Ze :k^Z aZl 0'* fbeebhg
bgaZ[bmZgml Zg] bl ma^ _b_ma fhlm ihinehnl f^mkh Zk^Z Z\\hk]bg` mh ma^ NL <^glnl ;nk^Zn Zl h_
+)*2%ma^bk fhlm \nkk^gm k^ihkm^] r^Zk' :]]bmbhgZeer%ma^ <bmr h_ Ahnlmhg aZl ZiikhqbfZm^er +',
fbeebhg bgaZ[bmZgml pab\a inml ma^ \bmr Zl ma^ _hnkma&eZk`^lm NL \bmr'



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        Ahnlmhgl ^\hghfr ablmhkb\Zeer k^eb^] hg ma^ i^mkhe^nf Zg] i^mkh\a^fb\Ze ^qiehkZmbhg Zg]
ikh]n\mbhg bg]nlmkb^l%^Zkgbg` ma^ \bmr ma^ mbme^ Hbe <ZibmZe h_ ma^ GZmbhg' Ahp^o^k%mh]Zr
Ahnlmhg aZl [khZ]^g^] bml ^\hghfb\ [Zl^%lab_mbg` ZpZr _khf ma^ ^g^k`r l^\mhk Zg] ]bo^klb_rbg` bg
bg]nlmkb^l ebd^ [bhm^\agheh`r%gZghm^\agheh`r%fZgn_Z\mnkbg`%eh`blmb\l%Zg] Z^khgZnmb\l'
        Ma^ <HOB=&*2 iZg]^fb\ aZl e^] mh Z pb]^lik^Z] ^\hghfb\ ]blknimbhg Z\khll ma^ FL:%
Zg] bml ^__^\ml aZo^ [^^g _^em [hma ]bk^\mer Zg] bg]bk^\mer' Ma^ `ho^kgf^gm fZg]Zm^] lmZr&Zm&ahf^
hk]^kl ]bk^\mer bfiZ\m^] ma^ k^mZbe Zg] ahlibmZebmr l^\mhkl [r \nkmZbebg` li^g]bg` Zm ghg&^ll^gmbZe
[nlbg^ll^l Zg] lh_m^gbg` ]^fZg]' ?nkma^kfhk^%Zl `eh[Ze mkZo^e eZk`^er _khs^ Z_m^k ma^ iZg]^fb\%
ma^ ]^fZg] _hk hbe Zg] `Zl \kZla^] k^lnembg` bg g^`Zmbo^ hbe ikb\^l _hk ma^ _bklm mbf^ bg ma^ bg]nlmkrl
ablmhkr' Ma^l^ ln[l^jn^gm ehp^k hbe ikb\^l `eh[Zeer e^] mh bg]bk^\m ^__^\ml hg Ahnlmhgl ^g^k`r Zg]
fZgn_Z\mnkbg` bg]nlmkb^l'
        Ma^l^ \hgl^jn^g\^l h_ ma^ iZg]^fb\ lZp oZ\Zg\r kZm^l bg\k^Zl^ ln[lmZgmbZeer bg +)+)%
\hkk^eZmbg` pbma [hma g^`Zmbo^ Z[lhkimbhg Zg] ]^\k^Zlbg` k^gmZe kZm^l bg fhlm Zk^Zl Zg] l^\mhkl h_
ma^ k^Ze ^lmZm^ fZkd^m' Ma^ h__b\^ fZkd^m ^qi^kb^g\^] &-'- fbeebhg L? h_ g^m Z[lhkimbhg bg +)+)%
pab\a pZl ma^ phklm r^Zk hg k^\hk]%Zg] Zg ho^kZee oZ\Zg\r kZm^ h_ Z[ho^ *1% bl hg^ h_ ma^ phklm
bg ma^ gZmbhg Zl ma^ Ahnlmhg h__b\^ fZkd^m pZl Zek^Z]r _Z\bg` ikh[e^fl ik^&iZg]^fb\ Zl hpg^kl
aZo^ aZ] mh \hgm^g] pbma ln\\^llbo^ lniier pZo^l Zg] pZgbg` ^g^k`r m^gZgm ]^fZg]' Bg ma^
bg]nlmkbZe l^\mhk%]^fZg] bl [^bg` ]kbo^g [r ^&\hff^k\^ ikhob]^kl%eh`blmb\l \hfiZgb^l%[nbe]bg`
fZm^kbZe k^mZbe^kl%Zg] ]bl\hngm lmhk^l' R^m Ahnlmhgl bg]nlmkbZe l^\mhk bl ^qi^kb^g\bg` k^\hk]&
[k^Zdbg` g^p lniier%e^Z]bg` mh kblbg` oZ\Zg\b^l Zg] lhf^ h_ ma^ ehp^lm k^gm `khpma f^mkb\l bg ma^
\hngmkr' :g bg\k^Zl^ bg oZ\Zg\b^l bg ma^ k^mZbe l^\mhk \Znl^] [r [nlbg^ll^l lanmmbg` ]hpg aZl _hk\^]
eZg]ehk]l mh ehp^k k^gml%Zg] +)+) fZkd^] ma^ _bklm mbf^ ma^ fZkd^m k^`blm^k^] g^`Zmbo^ ZggnZe k^gm
`khpma bg m^g r^Zkl' K^gm `khpma aZl k^fZbg^] _bkfer bg ma^ k^] lbg\^'
        Ehhdbg` _hkpZk]%pabe^ ma^ eh\Ze k^\ho^kr hnmiZ\^] maZm h_ ma^ NL ]n^ mh ma^ lmZm^l
Z\\^e^kZm^] k^hi^gbg`%ma^ k^\ho^kr h_ ma^ Ahnlmhg ^\hghfr ]^i^g]l eZk`^er hg Zg bfikhobg`
a^Zema lbmnZmbhg'
        Ma^ g^Zk m^kf hnmehhd bl [e^Zd%Zl \nm[Z\dl bg ghg&^ll^gmbZe k^mZbe li^g]bg`%^li^\bZeer _hk
l^kob\^%^gm^kmZbgf^gm%Zg] ZiiZk^e k^mZbe^kl aZl ankm k^mZbe^k k^o^gn^l lb`gb_b\Zgmer' ?nkma^k%ma^
ngik^]b\mZ[bebmr h_ ma^ ^g^k`r fZkd^ml a^k^ _hkpZk] Z]] mh ma^ ^\hghfrl oheZmbebmr' :emahn`a ma^
NL kb` \hngm lmZkm^] mh k^[hng] leb`amer bg ^Zker +)+*%bm lmbee k^fZbgl bg ablmhkb\Zeer ehp m^kkbmhkr%
^qm^g]bg` ^\hghfb\ ng\^kmZbgmr _hk Ahnlmhgl ^qiehkZmbhg%ikh]n\mbhg Zg] hbe _b^e] l^kob\^
\hfiZgb^l%pab\a Zk^ ma^ k^`bhg l eZk`^lm ^fiehr^kl'
        Ahp^o^k%bg ma^ ehg`^k m^kf%Ahnlmhgl ^\hghfb\ hnmehhd k^fZbgl himbfblmb\ pbma ma^
oZ\\bg^ kheehnm%Zg] ^\hghfblml Zk^ _hk^\Zlmbg` ,.%  ))) mh 0*%.)) g^p ch[l bg +)+*' Mahn`a ma^
^g^k`r bg]nlmkr bl ik^]b\m^] mh k^fZbg lmZ`gZgm%Z[ho^&Zo^kZ`^ ihineZmbhg `khpma%Zg] ^qiZglbhg bg
ahnlbg`%mkZglihkmZmbhg Zg] ]blmkb[nmbhg pbee \hgmbgn^ mh ]kbo^ `khpma' Mabl bl iZkmb\neZker mkn^ bg



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Ahnlmhgl ghkma^kg Zg] p^lm^kg ln[nk[l%pab\a Zk^ `khpbg` jnb\der Zg] aZo^ [^\hf^ ma^ ikbfZkr
mZk`^m _hk bgo^lmf^gm [nr^kl' Ma^l^ Zk^Zl Zk^ Zgmb\biZm^] mh pbmg^ll Zg hnmlbs^] laZk^ h_ g^p
]^fZg]%Zl ]^fZg] _hk lahiibg` Zg] k^gmZe ahnlbg` bl lmk^g`ma^g^] bg ma^l^ ln[nk[l ]n^ mh Z lab_m
bg k^gm^k Zg] ^fiehr^k ik^_^k^g\^l mh hnmlb]^ ma^ \hk^ Zl Z k^lnem h_ ma^ a^Zema \kblbl Zg] ln[l^jn^gm
k^fhm^ phkdbg`'
         @^h`kZiar3 Ma^ Ahnlmhg f^mkh bl \hfihl^] h_ AZkkbl%@Zeo^lmhg%;kZshkbZ%?hkm ;^g]%
<aZf[^kl%Fhgm`hf^kr%:nlmbg%Eb[^kmr%LZg CZ\bgmh%Zg] PZee^k \hngmb^l eh\Zm^] bg lhnma^Zlm^kg
M^qZl' ;hk]^k^] hg ma^ lhnma^Zlm [r ma^ @ne_ <hZlm%ma^ f^mkh ^g\hfiZll^l @Zeo^lmhg ;Zr' Ma^
Ahnlmhg Labi <aZgg^e ebgdl ma^ <bmr h_ Ahnlmhg mh ma^ @ne_ h_ F^qb\h' Ma^ Zk^Zl m^kkZbg bl e^o^e
Zg] ]kZbgl bgmh Z gnf[^k h_ [Zrhnl Zg] \ZgZel' @khpma aZl likZpe^]%ikbfZkber mh ma^ ghkma Zg]
p^lm%fZdbg` Ahnlmhg ma^ _b_ma&fhlm ihineZm^] f^mkh bg ma^ gZmbhg' Ma^l^ *) \hngmb^l aZo^ Z
ihineZmbhg h_ Zefhlm 0'* fbeebhg i^hie^' Ahnlmhg bl ma^ eZk`^lm \bmr%pbma g^Zker +', fbeebhg
k^lb]^gml%_heehp^] [r IZlZ]^gZ Zg] I^ZkeZg]'
         Bg_kZlmkn\mnk^3 @k^Zm lmkb]^l aZo^ [^^g fZ]^ mh ni`kZ]^ Ahnlmhgl mkZglihkmZmbhg
bg_kZlmkn\mnk^%pbma bglmZeef^gml h_ F^mkh KZbe Zg] ma^ \hfie^mbhg h_ Bgm^klmZm^ *) bg P^lm Ahnlmhg
ghp \hfikblbg` l^\mbhgl h_ ma^ lmZm^l _bklm bgm^klmZm^ mhee khZ]' :elh%ma^ Ziihkmbhg h_ N'L' .2
makhn`a Ahnlmhg aZl [^^g ni`kZ]^] Zg] k^gZf^] Bgm^klmZm^ /2' Pa^g ma^ *%         /))&fbe^ bgm^klmZm^ bl
\hfie^m^]%Ahnlmhg pbee aZo^ [^mm^k Z\\^ll mh <ZgZ]Z Zg] F^qb\h' Lbg\^ *22-%\hglmkn\mbhg hg ma^
fZllbo^ LmZm^ Ab`apZr 22%hk @kZg] IZkdpZr%        aZl ]kbo^g `khpma bg ma^ f^mkh' Mabl hnm^k ehhi
pbee [^ ma^ eZk`^lm [^empZr bg ma^ N'L' hg\^ \hfie^m^]'
         Ma^k^ Zk^ mph fZchk \hff^k\bZe :bkihkml pbmabg ma^ Ahnlmhg FL:' @^hk`^ ;nla
Bgm^k\hgmbg^gmZe :bkihkm ! B:A" bl Zfhg` ma^ \hngmkrl [nlb^lm Zbkihkml%l^kob\bg` fhlm fZchk
Zbkebg^l Zg] aZl ghg&lmhi _eb`aml mh ^o^kr bgaZ[bm^] \hgmbg^gm' :]]bmbhgZeer%bm bl ma^ l^\hg] eZk`^lm
an[ _hk Ngbm^] :bkebg^l' PbeebZf I' Ah[[r :bkihkm ! AHN" bl Ahnlmhgl l^\hg]Zkr \hff^k\bZe
Zbkihkm%Zg] bl Zg hi^kZmbg` [Zl^ _hk Lhnmap^lm :bkebg^l ikhob]bg` [hma ]hf^lmb\ Zg] bgm^kgZmbhgZe
_eb`aml'
         Ma^ Ihkm h_ Ahnlmhg \hgmZbgl +*) Fbe^l h_ _Z\bebmb^l eh\Zm^] Zehg` ma^ Ahnlmhg Labi
<aZgg^e Zg] aZl k^\^gmer [^^g ^qiZg]^]' Ma^ ihkm bl hg^ h_ ma^ phke]l [nlb^lm%fhobg` fhk^ maZg
+)) fbeebhg mhgl h_ \Zk`h%Zg] bm k^\hk]l g^Zker 1% ))) o^ll^e \Zeel ZggnZeer' :l ma^ \ehl^lm `ne_ ihkm
mh ma^ IZgZfZ <ZgZe%Ahnlmhg pbee [^g^_bm _khf ma^ ihkml bg\k^Zl^] \ZiZ\bmr'
         >\hghfr3 Ahnlmhg bl ma^ \^gm^k h_ ma^ N'L' i^mkhe^nf bg]nlmkr' Ma^ f^mkh e^Z]l ma^ gZmbhg
bg i^mkh\a^fb\Ze fZgn_Z\mnkbg` Zg] k^_bgbg` Zg] kZgdl ab`aer bg fZgn_Z\mnkbg` Z`kb\nemnkZe
\a^fb\Zel%_^kmbebs^kl%Zg] i^lmb\b]^l' Bg _Z\m%Ahnlmhg bl ahf^ mh -- h_ ma^ *+1 in[eb\er mkZ]^] hbe
Zg] `Zl \hfiZgb^l' Ahnlmhg bl Zelh ma^ phke]l ikbfZkr ikh]n\^k h_ hbe&_b^e] ^jnbif^gm' Hma^k
ikh]n\ml fZgn_Z\mnk^] bg Ahnlmhg bg\en]^ iZi^k%^e^\mkb\Ze Zg] ^e^\mkhgb\ fZ\abg^kr%bkhg%Zg]
lm^^e'



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        Mh]Zr Ahnlmhg aZl [khZ]^g^] bml ^\hghfb\ [Zl^%lab_mbg` ZpZr _khf ma^ ^g^k`r l^\mhk Zg]
]bo^klb_rbg` bg bg]nlmkb^l pbma Z iZkmb\neZk lmkhg`ahe] bg a^Zema\Zk^ Zg] ma^ eb_^ l\b^g\^l' Bg _Z\m%
Ahnlmhg bl ahf^ mh ma^ eZk`^lm f^]b\Ze \^gm^k bg ma^ phke] Zm ma^ M^qZl F^]b\Ze <^gm^k%pab\a
mk^Zml fhk^ maZg 0'+ fbeebhg iZmb^gml ZggnZeer Zg] ^fiehrl fhk^ maZg *))%    ))) i^hie^' Ma^ M^qZl
F^]b\Ze <^gm^k aZl ieZgl mh ^qiZg] bml _hhmikbgm%pbma l^o^kZe fbeebhg L? h_ g^p eb_^ l\b^g\^l&
hkb^gm^] fbq^]&nl^] ikhc^\ml bg ma^ ibi^ebg^' Pbma mabl ^qiZglbhg%ma^r l^^d mh ^lmZ[ebla M^qZl Zl
ma^ Mabk] <hZlm _hk eb_^ l\b^g\^l Zg] [bhm^\agheh`r k^l^Zk\a%\hfi^mbg` ]bk^\mer pbma <Zf[kb]`^%
F: Zg] LZg ?kZg\bl\h%<:' :l ln\a%Ahnlmhgl in[eb\ Zg] ikboZm^ l^\mhkl mh]Zr Zk^ ngbm^] bg
`khpbg` bml `eh[Ze eb_^ l\b^g\^l ikh_be^'
        Ma^ Ihkm h_ Ahnlmhg bl hg^ h_ ma^ \hngmkrl [nlb^lm _hk ^qihkml Zg] bl bg ma^ ikh\^ll h_
ni`kZ]bg` bml _Z\bebmb^l mh aZg]e^ ma^ eZk`^k lni^kmZgd^kl maZm pbee \hf^ makhn`a ma^ pb]^g^]
IZgZfZ <ZgZe' Lb`gb_b\Zgm mkZ]bg` iZkmg^kl bg\en]^ F^qb\h%LZn]b :kZ[bZ%O^g^sn^eZ%<abgZ%Zg]
@^kfZgr' Ma^ ihkm ]bk^\mer lniieb^l mahnlZg]l h_ ch[l Zg] `^g^kZm^l [beebhgl h_ ]heeZkl bg [nlbg^ll
k^o^gn^%Zg] bl \^gmkZe mh ma^ k^`bhgl hg`hbg` ]^o^ehif^gm Zl Z an[ _hk bgm^kgZmbhgZe mkZ]^'
        EZ[hk3 Ikbhk mh ma^ hnm[k^Zd h_ ma^ <hkhgZObknl IZg]^fb\%ma^ Ahnlmhg FL: \hglblm^gmer
kZgd^] Zfhg` ma^ mhi f^mkhl _hk ch[ `khpma bg ma^ \hngmkr' :fie^ ch[ hiihkmngbmb^l aZ] linkk^]
lb`gb_b\Zgm ihineZmbhg `khpma Zg] fhk^ maZg *'* fbeebhg g^p k^lb]^gml p^k^ Z]]^] _khf +)*) mh
+)*2' Ahp^o^k%ma^ hgl^m h_ ma^ iZg]^fb\ aZl aZ] Z eZk`^ bfiZ\m hg ma^ Ahnlmhg ^\hghfr%e^Z]bg`
mh Z lb`gb_b\Zgm kbl^ bg ng^fiehrf^gm ]n^ mh ma^ \ehlbg` h_ fZgr k^mZbe%mkZglihkmZmbhg&k^eZm^]%Zg]
ahlibmZebmr [nlbg^ll^l3 Zm ma^ a^b`am h_ ma^ iZg]^fb\%Ahnlmhgl ng^fiehrf^gm k^Z\a^] *-%'
Pabe^ mabl e^o^e aZl k^\ho^k^] mh cnlm Z[ho^ 1%%mabl bl lmbee lb`gb_b\Zgmer Z[ho^ ma^ ik^&iZg]^fb\
gnf[^k h_ -'*%'
        Mh]Zr%Ahnlmhgl eZ[hk ihhe \hglblml h_ g^Zker ,'- fbeebhg bg]bob]nZel Z\\hk]bg` mh M^qZl
EZ[hk FZkd^m Bg_hkfZmbhg Zg] bl ]hfbgZm^] [r ch[l bg ma^ ^g^k`r bg]nlmkr%pab\a \hglblml h_ ma^
_heehpbg` \hfihg^gml3 nilmk^Zf ^g^k`r ! hbe Zg] `Zl ^qiehkZmbhg Zg] ikh]n\mbhg"% ibi^ebg^
mkZglihkmZmbhg Zg] hbe _b^e] ^jnbif^gm fZgn_Z\mnkbg`%Zg] ]hpglmk^Zf ^g^k`r ! k^_bgbg`%\a^fb\Zel
fZgn_Z\mnkbg`"' :m ik^l^gm%nilmk^Zf \hfiZgb^l k^ik^l^gm e^ll maZg hg^&mabk] h_ Ahnlmhgl ch[l%
pabe^ ^g^k`r&bg]^i^g]^gm [nlbg^ll^l k^ik^l^gm fhk^ maZg .) i^k\^gm'
        Ln[lmZgmbZe lmkn\mnkZe lab_ml bg Ahnlmhgl ^fiehrf^gm [Zl^ aZl k^]n\^] bml oneg^kZ[bebmr mh
]hpgmnkgl bg ^g^k`r' Ma^ Ihkm h_ Ahnlmhg Zg] @^hk`^ ;nla Bgm^k\hgmbg^gmZe :bkihkm \hgmkb[nm^ mh
ma^ mkZ]^%mkZglihkmZmbhg%Zg] nmbebmb^l l^\mhk%pab\a bl ma^ eZk`^lm ^fiehrf^gm l^\mhk bg ma^ f^mkh%
\hfikblbg` +*% h_ Zee ghg_Zkf ch[l' Mabl l^\mhk ^qi^kb^g\^] Z ehll h_ &+',% Zl Z k^lnem h_ ma^
iZg]^fb\%Zl \hfiZk^] mh &/'1% h_ Zee ghg_Zkf ch[l' Ikh_^llbhgZe Zg] [nlbg^ll l^kob\^l bl ma^
l^\hg] eZk`^lm l^\mhk%Z\\hngmbg` _hk */'+% h_ mhmZe ^fiehrf^gm%Zg] ebd^pbl^ ^qi^kb^g\^] Z ehll
[^ehp ma^ mhmZe Zm &.'1%'




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        >fiehr^kl3 Ahnlmhg l^ko^l Zl ma^ a^Z]jnZkm^kl _hk ++ ?hkmng^ .)) \hfiZgb^l ! L^im^f[^k
+)+)" bg bg]nlmkb^l ln\a Zl ^g^k`r%mkZglihkmZmbhg Zg] m^\agheh`r' <hkihkZmbhgl hg ma^ eblm bg\en]^
Iabeebil //%Lrl\h%;Zd^k An`al Zg] AZeeb[nkmhg' Ahnlmhg bl _hnkma Zfhg` f^mkhl gZmbhgpb]^ bg
ma^ gnf[^k h_ ?hkmng^ .)) a^Z]jnZkm^kl%[^abg] hger G^p Rhkd <bmr%<ab\Z`h Zg] =ZeeZl'
Ahnlmhgl fZchk ^fiehr^kl bg\en]^ A&>&;%Ahnlmhg F^mah]blm%F^fhkbZe A^kfZgg A^Zema
Lrlm^f%Zg] F= :g]^klhg <Zg\^k <^gm^k'
        Mahn`a Ahnlmhg bl ahf^ mh fZgr fZchk \hkihkZmbhgl%[nlbg^ll^l pbma +.) hk fhk^ phkd^kl
Z\\hngm _hk hger Z lfZee ihkmbhg h_ mhmZe ^fiehrf^gm' Ma^ f^mkh aZl ang]k^]l h_ mahnlZg]l h_
lfZee [nlbg^ll^l%pab\a ikhob]^ ch[l bg Zee ^fiehrf^gm l^\mhkl'
        =^fh`kZiab\l3 Ma^ _heehpbg` ]ZmZ bl mZd^g _khf ma^ NL <^glnl ;nk^Zn Zl h_ +)*2' Ma^
f^mkhl ihineZmbhg aZl `khpg *2'.% lbg\^ +)*)%Z]]bg` fhk^ maZg *'+ fbeebhg k^lb]^gml Zg] bl
ik^]b\m^] mh \hgmbgn^ mh bg\k^Zl^ _hk ma^ g^qm _bo^ r^Zkl Zm ZiikhqbfZm^er +'+% ZggnZeer' : eZk`^
ihkmbhg h_ ma^ `khpma pbee \hf^ _khf bffb`kZmbhg Zl Zg ^qiZg]bg` ^fiehrf^gm [Zl^ ZmmkZ\ml rhng`
phkd^kl mh ma^ k^`bhg' :l Z k^lnem%ma^ Zk^Z aZl hg^ h_ ma^ ehp^lm f^]bZg Z`^l Zfhg` fZchk N'L'
f^mkhl Zm ,-'2 r^Zkl i^k ma^ NL \^glnl' :khng] +2% h_ k^lb]^gml _Zee pbmabg ma^bk ikbf^
^fiehrf^gm r^Zkl h_ +. mh --'
        Ma^ ZoZbeZ[bebmr h_ ^fiehr^^l Zelh a^eil ZmmkZ\m \hkihkZmbhgl l^^dbg` Z eZk`^%Z__hk]Z[e^ Zg]
ldbee^] eZ[hk ihhe' Fhk^ maZg ,,% h_ Zk^Z k^lb]^gml Z`^ +. Zg] he]^k aZo^ ZmmZbg^] Z [Z\a^ehkl
]^`k^^ Zg] fhk^ maZg *+% ahe] Z `kZ]nZm^ ]^`k^^'
        : ldbee^] phkd_hk\^ Zl p^ee Zl ma^ \hg\^gmkZmbhg h_ ?hkmng^ .)) a^Z]jnZkm^kl Zg] fZchk
[nlbg^ll hi^kZmbhgl bg ma^ k^`bhg \hgmkb[nm^l mh bg\hf^ `khpma' Ma^ f^mkhl f^]bZg ahnl^ahe]
bg\hf^%\nkk^gmer Zm $/2%  *2, i^k r^Zk%bl ^qi^\m^] mh kbl^ lb`gb_b\Zgmer bg ma^ g^qm _bo^ r^Zkl' Ehp
ahnlbg` ikb\^l a^ei mh d^^i Ahnlmhg Zl hg^ h_ ma^ fhlm Z__hk]Z[e^ fZchk f^mkhl bg ma^ \hngmkr%
pbma fhk^ maZg /)% h_ ahnl^ahe]l hpgbg` ma^bk ahf^'
        JnZebmr h_ Eb_^3 Hnm]hhk Z\mbobmb^l Z[hng] bg Ahnlmhg Zl Z k^lnem h_ ma^ \bmrl _ZohkZ[e^
eh\Zmbhg Zg] \ebfZm^' Fhk^ maZg Z ]hs^g lmZm^ iZkdl Zg] k^\k^Zmbhg Zk^Zl eb^ pbmabg Z lahkm ]kbo^ h_
Ahnlmhg%Zg] fhk^ maZg .)) iZkdl Zg] hi^g liZ\^l Zk^ eh\Zm^] bg ma^ bff^]bZm^ Zk^Z'
        ?hk mahl^ l^^dbg` \nemnkZe Z\mbobmb^l%Ahnlmhg bl hg^ h_ o^kr _^p N'L' \bmb^l pbma i^kfZg^gm
ikh_^llbhgZe k^lb]^gm \hfiZgb^l bg hi^kZ%[Zee^m%hk\a^lmkZ Zg] ma^Zmk^' Ma^ Zk^Z Zelh aZl Z lmkhg`
\hee^\mbhg h_ fnl^nfl bg\en]bg` ma^ Fnl^nf h_ ?bg^ :kml%Ahnlmhg4 <abe]k^gl Fnl^nf h_
Ahnlmhg4 Zg] ma^ EZpg]Ze^ :km <^gm^k' :]]bmbhgZeer%Ahnlmhg bl ahf^ mh _hnk ikh_^llbhgZe lihkml
m^Zfl3 ma^ Ahnlmhg M^qZgl%ma^ Ahnlmhg :lmkhl%ma^ Ahnlmhg Kh\d^ml%Zg] ma^ Ahnlmhg =rgZfh'
        >]n\ZmbhgZe hiihkmngbmb^l Zelh ieZr Z d^r khe^ bg Ahnlmhgl jnZebmr h_ eb_^' Ma^ ^]n\Zmbhg
Zg] a^Zema l^kob\^l l^\mhk Z\\hngml _hk *+ i^k\^gm h_ mhmZe ^fiehrf^gm' Chaglhg LiZ\^ <^gm^k _hk
bglmZg\^%bl Z ihineZk mhnkblm Zg] ^]n\ZmbhgZe ]^lmbgZmbhg' Ahnlmhg h__^kl ]blmbg`nbla^] l\ahhe
]blmkb\ml Zg] fhk^ maZg -) \hee^`^l%ngbo^klbmb^l Zg] bglmbmnmbhgl' Ma^ f^mkh bl Zelh dghpg



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bgm^kgZmbhgZeer _hk bml f^]b\Ze \hffngbmr Zg] bl ahf^ mh ma^ M^qZl F^]b\Ze <^gm^k%ma^ eZk`^lm
f^]b\Ze \^gm^k bg ma^ phke]'
        =n^ mh bml Z__hk]Z[bebmr%pZkf \ebfZm^%ehp mZq^l%Zg] ikh&[nlbg^ll ^gobkhgf^gm%Ahnlmhg bl
p^ee ihlbmbhg^] _hk _nmnk^ `khpma Zg] k^fZbgl k^lbeb^gm bg ma^ _Z\^ h_ ma^ \nkk^gm k^\^llbhg' B_ ma^
k^Z]^k ]^lbk^l fhk^ ]^mZbe^] lmZmblmb\Ze Zg] [Z\d`khng] bg_hkfZmbhg _hk ma^ <bmr h_ Ahnlmhg bm bl
ZoZbeZ[e^ _hk ma^ k^Z]^k Zm ma^ _heehpbg` p^[lbm^ Z]]k^ll3 ppp'ahnlmhgmq'`ho' Mabl p^[ lbm^
\hgmZbgl bg_hkfZmbhg hg ma^ ablmhkr h_ ma^ \bmr%ma^ _hkf h_ `ho^kgf^gm%^\hghfr%Zg] mkZ]^%Zg]
Zk^Z ZmmkZ\mbhgl'
          Ma^ bg_hkfZmbhg \hgmZbg^] bg ma^ fZkd^m ho^kob^p \hf^l _khf FZk\nl & Fbeeb\aZi Zg] hma^k lhnk\^l ]^^f^] mh [^

k^ebZ[e^%ahp^o^k%gh k^ik^l^gmZmbhg%pZkkZgmr hk `nZkZgm^^%^qik^ll hk bfieb^]%fZr [^ fZ]^ Zl mh ma^ Z\\nkZ\r hk k^ebZ[bebmr h_ ma^

bg_hkfZmbhg \hgmZbg^] a^k^bg' Ma^ fhlm mbf^er ]ZmZ ZoZbeZ[e^ Zm mbf^ h_ ikh]n\mbhg%bg\en]bg` ^lmbfZm^l Zg] _hk^\Zlml%p^k^ nl^] Zg]

fZr [^ ln[c^\m mh k^oblbhg'


                                          G>B@A;HKAHH= :G:ERLBL


        : g^b`a[hkahh] bl ]^_bg^] Zl ": `khni h_ \hfiebf^gmZkr eZg] nl^l4 Z \hg`knhnl `khnibg`
h_ bgaZ[bmZgml%[nbe]bg`l%hk [nlbg^ll ^gm^kikbl^l'"                                             /ma
>]bmbhg
        Ma^ inkihl^ h_ ma^ Zk^Z Zg] g^b`a[hkahh] ZgZerlbl l^\mbhg h_ mabl k^ihkm bl mh ikhob]^ Z
[Z\d`khng] _hk ma^ ln[c^\m ikhi^kmr bg m^kfl h_ bml fhlm bff^]bZm^ bg_en^g\^l' Mabl l^\mbhg
]^ebg^Zm^l _Z\mnZe ]ZmZ Z\\hk]bg` mh ma^ lh\bZe%^\hghfb\%`ho^kgf^gmZe%Zg] ^gobkhgf^gmZe _hk\^l
maZm Z__^\m ma^ bgaZ[bmZgml%Zg] manl ma^ oZen^ h_ ma^ ikhi^kmr bg ma^ `^g^kZe Zg] bff^]bZm^
g^b`a[hkahh]l'
        Eh\Zmbhg(;hng]Zkb^l(:\\^ll3 Ma^ ln[c^\m g^b`a[hkahh] fZr [^ `^g^kZeer ]^_bg^] mh [^
ma^ A^film^Z] Zk^Z h_ PZee^k <hngmr Zg] ma^ <bmr h_ PZee^k' Li^\b_b\Zeer%ma^ NL +2) \hkkb]hk
[^mp^^g ma^ <bmr h_ A^film^Z] mh ma^ p^lm Zg] ma^ <bmr h_ PZee^k mh ma^ ^Zlm' A^film^Z] Zg]
PZee^k k^ik^l^gml Z knkZe \hffngbmb^l lbmnZm^] ZiikhqbfZm^er -) mh .) fbe^l ghkmap^lm h_ ma^
Ahnlmhg <^gmkZe ;nlbg^ll =blmkb\m' Ma^ <bmr h_ PZee^k bl \^gm^k^] Zkhng] ma^ bgm^kl^\mbhg h_ NL
+2) Zg] ma^ AZkkbl&PZee^k <hngmr ebg^ Zg] A^film^Z] bl \^gm^k^] Zkhng] ma^ bgm^kl^\mbhg h_ NL
+2) Zg] LA /'
        Ma^ ln[c^\m ikhi^kmr bml^e_ bl eh\Zm^] pbmabg \bmr ebfbml h_ ma^ <bmr h_ A^film^Z]%pab\a bl
Zg bg\hkihkZm^] iZkm h_ PZee^k <hngmr%M^qZl' Li^\b_b\Zeer%ma^ ln[c^\m ikhi^kmr bl lbmnZm^] pbmabg
ma^ E^`^g]Zkr HZdl Ln[]boblbhg Zehg` ma^ ^Zlm ebg^ h_ Ah`Zg EZg^%[^bg` cnlm lhnma h_ ;nlbg^ll
NL +2) ! He] A^film^Z] Ab`apZr"' ?nkma^kfhk^%ma^ ln[c^\m bl eh\Zm^] ZiikhqbfZm^er +')) fbe^l
p^lm h_ ma^ bgm^kl^\mbhg h_ ;nlbg^ll NL +2) Zg] LmZm^ Ab`apZr / ! LA /"'




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        MkZ__b\ :km^kb^l3 NL +2) [^`bgl Zm Ehhi /*) bg g^Zk ghkmap^lm Ahnlmhg Zg] ^g]l Zm BA ,.
bg ghkma \^gmkZe :nlmbg' Pabe^ ma^k^ Zk^ l^o^kZe hma^k khnm^l%lbg\^ ma^ \hfie^mbhg h_ Zee h_ ma^ NL
+2) [riZll ab`apZr l^\mbhgl ghkmap^lm h_ Ahnlmhg%bm bl ghp ma^ fhlm mkZo^e^] khnm^ [^mp^^g ma^l^
mph bfihkmZgm M^qZl \bmb^l' LA / [^`bgl Zm Abm\a\h\d%Zm BA -.%cnlm p^lm h_ @Zeo^lmhg%Zg] ehhil
Zkhng] ma^ lhnma lb]^ h_ ma^ Ahnlmhg F^mkh :k^Z%mnkgbg` ghkma bg ma^ Ln`Zk EZg] :k^Z%Zg]
\hgmbgnbg` Zl LA / ngmbe bm k^Z\a^l NL +2)' Mh ma^ ghkma bm [^\hf^l ?F *2/)%^o^gmnZeer kbg`bg`
ma^ ^gmbk^ `k^Zm^k Ahnlmhg Zk^Z%f^^mbg` [Z\d pbma LA / bg Abm\a\h\d Zl LA *-/' LA / bml^e_
_heehpl ma^ \hffhg khnm^ pbma NL +2) ngmbe bm [kZg\a^l h__ mh ma^ ghkma Zm A^film^Z]%\hgmbgnbg`
mh ma^ ;krZg(<hee^`^ LmZmbhg%M^qZl : & F Ngbo^klbmr Zg] [^rhg]'
        Ma^ he] ab`apZr lmbee ^qblml [^mp^^g A^film^Z] Zg] Ahnlmhg%`^g^kZeer dghpg Zl
A^film^Z] Ab`apZr%[nm aZl [^\hf^ kZma^k l^\hg]Zkr Zl Z k^lnem Zl ma^ g^p \hg_b`nkZmbhg' Ma^k^
Zk^ ieZgl mh fZd^ mabl Z mhee khZ] Zm lhf^ _nmnk^ ]Zm^' Ma^ hma^k mph \hffngbmb^l bg mabl bff^]bZm^
Zk^Z Zk^ PZee^k ! ma^ \hngmr l^Zm"%Zg] IkZbkb^ Ob^p ! ahf^ h_ IkZbkb^ Ob^p : & F Ngbo^klbmr"'
Ebd^ fhlm knkZe mhpgl%ma^k^ bl Z a^Zemar g^mphkd h_ _Zkf mh fZkd^m Zg] \hngmr khZ]l maZm l^kob\^
ma^ Zk^Z'
        =^o^ehif^gm3 A^film^Z] [^`Zg Zl Z \Zmme^ Zg] Z`kb\nemnkZe mhpg lbmnZm^] Zehg` Z fZchk
kZbekhZ]' Bm ghp k^ik^l^gml Z mhpg h_ cnlm Zkhng] .%  ))) bg ihineZmbhg' Ma^ he] ]hpgmhpg Zk^Z lmbee
aZl lhf^ obZ[e^ [nlbg^ll^l%Zg] ^o^g mahn`a ma^ fZbg mkZ__b\ aZl [^^g k^]bk^\m^] mh ma^ ghkma%fhlm
h_ ma^ k^mZbe Zg] l^kob\^ ]^o^ehif^gm bl lmbee Zehg` ma^ he] ab`apZr' Ma^ \bmr `ho^kgf^gm bl h_ ma^
:e]^kfZg mri^' Ma^k^ Zk^ l^o^kZe [Zgdl%f^]b\Ze \ebgb\l%]h\mhkl%]^gmblm%Zg] \abkhikZ\mhkl%Z
iarlb\Ze ma^kZiblm%Zg] Z gnklbg` ahf^' Ma^k^ Zk^ Z mhmZe l^o^kZe \ank\a^l%k^lmZnkZgml%Z lni^k
fZkd^m%Z PZe FZkm%Zg] gnf^khnl k^mZbe Zg] l^kob\^ hkb^gm^] [nlbg^ll^l'
        Ma^ EZpk^g\^ FZklaZee :nmhfh[be^ =^Ze^klabi%pab\a pZl hg^ h_ ma^ fZchk ]^Ze^klabil bg
ma^ lmZm^%aZl [^^g lanm ]hpg Zg] bl gh ehg`^k Z ]kZp mh ma^ Zk^Z' Ma^k^ bl Z fhm^e hg ma^ lhnma lb]^
h_ NL +2) p^lm h_ LA /%Zg] l^o^kZe l^kob\^ lmZmbhg Zg] mkn\d _Z\bebmb^l bg ma^ bff^]bZm^ Zk^Z h_ maZm
bgm^kl^\mbhg' Ma^ \ehlbg` h_ ma^ ]^Ze^klabi aZl g^`Zmbo^er Z__^\m^] ma^ Zk^Z'
        =Zbdbg Bg]nlmkb^l aZl ]^o^ehi^] Z g^p Zbk \hg]bmbhgbg` Zg] _nkgZ\^ _Z\mhkr% [^bg`
ZiikhqbfZm^er -%   .))%))) ljnZk^ _hhm mbem pZee _Z\bebmr%pab\a ^fiehrl .%    ))) phkd^kl' Mabl g^p
=Zbdbg _Z\bebmr bl eh\Zm^] ZiikhqbfZm^er .'. fbe^l ^Zlm h_ ma^ ln[c^\m' Ma^ ZiikZbl^k bl ZpZk^ h_ Z
g^p 2))%  ))) ljnZk^ _hhm ?^]>q _Z\bebmr `hbg` bg hg ma^ @kZg] IZkdpZr bg ma^ ?Zk Ghkmap^lm
ln[fZkd^m ! ln[c^\ml ln[fZkd^m"%Zg] @>M cnlm e^Zl^] Z +))%     ))) ljnZk^ _hhm bg]nlmkbZe [nbe]bg` bg
ma^ -ma JnZkm^k bg ma^ ?Zk Ghkmap^lm ln[fZkd^m' MkZglp^lm^kg ghm^l maZm 0+% h_ ma^ g^p
li^\neZmbo^ liZ\^ bg ma^ ln[c^\ml ln[fZkd^m bl ik^&e^Zl^] bg]b\Zmbg` lmkhg` ]^fZg]'
       In[eb\ L^kob\^l3 Iheb\^%_bk^%Zg] ^f^k`^g\r l^kob\^l Zk^ `^g^kZeer ikhob]^] [r PZee^k
<hngmr%^q\^imbg` pa^k^ ma^ <bmr h_ PZee^k aZl \hgmkheebg` Znmahkbmr' Pbmabg ma^ \bmr ebfbml%pZm^k
Zg] l^p^k l^kob\^l Zk^ ZoZbeZ[e^ _khf ma^ <bmr h_ PZee^k%[nm Zk^ ghm ZoZbeZ[e^ hnmlb]^ h_ ma^ \bmr



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ebfbml%pa^k^ ikboZm^ lrlm^fl Zk^ g^\^llZkr' GZmnkZe `Zl bl ghm `^g^kZeer ZoZbeZ[e^%[nm ^e^\mkb\bmr%
m^e^iahg^%ab`a li^^] bgm^kg^m l^kob\^%Zg] \Z[e^ MO Zk^ ZoZbeZ[e^' GZmnkZe `Zl bl ZoZbeZ[e^ bl
\^kmZbg Zk^Zl h_ ma^ <bmr h_ PZee^k%bg\en]bg` ma^ ln[c^\m ikhi^kmr'
        K^\k^Zmbhg3 Ma^ g^b`a[hkahh] ^gchrl ln[lmZgmbZe k^\k^ZmbhgZe hiihkmngbmb^l ]n^ mh ma^
ik^l^g\^ h_ mph fZchk ngbo^klbmb^l mh ma^ ghkma Zg] ^Zlm%fZgr _blabg` Zk^Zl%[bk] angmbg`%h__&
khZ]bg`%Zg] hma^k knkZe Z\mbobmb^l' Ma^ Zk^Z aZl ehg` [^^g ihineZk _hk `^gme^fZg _Zkf ^lmZm^l Zg]
p^^d^g] _Zkf(kZg\a ahf^l' Ma^k^ bl Z pZm^kf^ehg _^lmboZe ^o^kr r^Zk%ma^ [en^[hgg^m mkZbe bg ma^
likbg`%Zg] ma^k^ Zk^ l^o^kZe hma^k fZchk _^lmboZel Zg] `^m&mh&`Zma^kl [^mp^^g A^film^Z]%PZee^k%
;^eeobee^%;khhdlabk^%<aZii^ee Abee%Zg] Khng] Mhi' Hg^ h_ ma^ eZk`^k Zgmbjn^ _^lmboZel bg ma^
\hngmkr ! _bo^ fbe^l hg [hma lb]^l h_ ma^ ab`apZr" mpb\^ Z r^Zk [^mp^^g Khng] Mhi Zg] PZkk^gmhg'
Pabe^ A^film^Z] bml^e_ aZl hger Z _^p Zgmbjn^(\hee^\mZ[e^ lahil%ma^ Zk^Z bg `^g^kZe bl _nee h_
ablmhkr Zg] _Zfhnl _hk ma^l^ mri^l h_ lahil' :ghma^k fZchk Zk^Z ZmmkZ\mbhg bl ma^ M^qZl
K^gZbllZg\^l ?^lmboZe bg ma^ fhgmal h_ H\mh[^k Zg] Gho^f[^k%eh\Zm^] cnlm mh ma^ ^Zlm Zm FZ`ghebZ'
        <hg\enlbhg3 Pabe^ ma^ \bmb^l h_ PZee^k Zg] A^film^Z] aZl `khpg [r Z[hnm ,)% ^o^kr
]^\Z]^ lbg\^ ma^ *2/)l%ma^ lnkkhng]bg` PZee^k <hngmr ihineZmbhg aZl fhk^ maZg ]hn[e^] maZm
kZm^%^li^\bZeer ho^k ma^ iZlm *. r^Zkl' Ln[nk[Zg ]^o^ehif^gm pbma Z Ahnlmhg [Zl^ aZl `khpg iZlm
ma^ .) fbe^ fZkd _khf ma^ <;= bg l^o^kZe ]bk^\mbhgl%Zg] ma^ [^em h_ kheebg`%\k^^d kb]]e^] m^kkZbg
p^lm h_ Ahnlmhg _khf ;khhdlabk^ Zg] L^Zer hg ma^ lhnma%Zee ma^ pZr mh ;k^gaZf Zg] GZoZlhmZ hg
ma^ ghkma k^ik^l^gml eh`b\Ze ]^o^ehif^gmZe ^qiZglbhg _hk ma^ _hk^l^^Z[e^ _nmnk^%^li^\bZeer Zl fhk^
phkd^kl Zk^ ^gZ[e^] mh phkd iZkm hk _nee mbf^ _khf ahf^ \hfinm^kl \hgg^\mbg` mh ma^bk ieZ\^l h_
^fiehrf^gm'
        <HOB=& *2 ! <hkhgZobknl" 3 Ma^ `eh[Ze hnm[k^Zd h_ Z gho^e \hkhgZobknl dghpg Zl
<HOB=&*2 pZl h__b\bZeer ]^\eZk^] Z iZg]^fb\ [r ma^ Phke] A^Zema Hk`ZgbsZmbhg ! PAH"' Ma^
k^Z]^k bl \Znmbhg^] Zg] k^fbg]^] maZm ma^ \hg\enlbhgl ik^l^gm^] bg mabl ZiikZblZe k^ihkm Ziier hger
Zl h_ ma^ ^__^\mbo^ ]Zm^! l" bg]b\Zm^]' Ma^ ZiikZbl^k fZd^l gh k^ik^l^gmZmbhg Zl mh ma^ ^__^\m hg ma^
ln[c^\m ikhi^kmr h_ Zgr ng_hk^l^^g ^o^gm%ln[l^jn^gm mh ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe'
        Ma^ <HOB=&*2 hk <hkhgZobknl `eh[Ze iZg]^fb\ Zkkbo^] bg Ngbm^] LmZm^l bg eZm^ CZgnZkr h_
+)+) nge^Zlabg` ngik^\^]^gm^] in[eb\ `Zma^kbg` k^lmkb\mbhgl [r FZk\a h_ +)+)' Ma^ ehg`&Zg]
lahkm&m^kf fZkd^m bfiZ\m _khf <hob]&*2 bl bg ]^m^kfbgbg` ma^ fZkd^m oZen^ \hg\enlbhg'
        <nkk^gm FZkd^m Mk^g]l3 Ma^ ln[c^\m Zk^Z aZl ^qi^kb^g\^] fh]^kZm^ Zfhngml h_ ho^kZee
`khpma bg ma^ iZlm , mh . r^Zkl bg ma^ \hff^k\bZe fZkd^m' =^o^ehif^gm bg ma^ g^b`a[hkahh]
bg\en]^l k^mZbe%\hff^k\bZe%eb`am bg]nlmkbZe%fnemb_Zfber%Zl p^ee Zl lbg`e^&_Zfber k^lb]^gmbZe
ln[]boblbhgl' Ho^kZee%mabl Zk^Z k^ik^l^gml Z p^ee&khng]^] \hffngbmr _khf Zee lmZg]ihbgml'
       Bg Z]]bmbhg%Zl Ahnlmhg \hgmbgn^l mh ]bo^klb_r _khf bml ik^obhnler a^Zober ]^i^g]^gm
i^mkhe^nf ^\hghfr% ma^ ho^kZee [nlbg^ll [Zlbl \hgmbgn^l mh lmk^g`ma^g' <hglb]^kbg` ma^




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g^b`a[hkahh] l eh\Zmbhg%Zg] bml Z\\^llb[bebmr _khf fZchk mahkhn`a_Zk^l%ma^ f^]bnf mh ehg`&m^kf
ikhli^\ml _hk ma^ g^b`a[hkahh] Zk^ \hglb]^k^] lmZ[e^'
       Ho^kZee%mabl g^b`a[hkahh] bl \hglb]^k^] mh aZo^ `hh] ihm^gmbZe _hk \hgmbgn^] ]^o^ehif^gm'
Ma^ _heehpbg` iZ`^l Zk^ Z lgZilahm h_ ma^ @k^Zm^k Ahnlmhg IZkmg^klabi Ohenf^ ,*%Gh' *) •
H\mh[^k +)++'




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                                  LBM> =:M: :G= :G:ERLBL

       :g ZgZerlbl h_ ma^ ln[c^\m lbm^ bl iZkmb\neZker bfihkmZgm bg ]^m^kfbgbg` bml ab`a^lm Zg] [^lm
nl^' P^ aZo^ k^eb^] hg ma^ e^`Ze ]^l\kbimbhg%Z^kbZe iahmhl%P<:= mZq fZi%Zg] Z mahkhn`a
iarlb\Ze ikhi^kmr oblbm h_ ma^ ln[c^\m' Ma^ _heehpbg` bl Z ]bl\nllbhg h_ ma^ fhlm bfihkmZgm _Z\ml'
       E^`Ze =^l\kbimbhg3 )'..., Z\k^l hk +-%     ,2- ljnZk^ _^^m h_ eZg] [^bg` ;eh\d *%Ehm ./%
E^`^g]Zkr HZdl Ln[]boblbhg%PZee^k <hngmr%M^qZl'
       Eh\Zmbhg(:\\^ll3 Ma^ ln[c^\m ikhi^kmr bml^e_ bl eh\Zm^] pbmabg \bmr ebfbml h_ ma^ <bmr h_
A^film^Z]%pab\a bl Zg bg\hkihkZm^] iZkm h_ PZee^k <hngmr%M^qZl' Li^\b_b\Zeer%ma^ ln[c^\m
ikhi^kmr bl lbmnZm^] pbmabg ma^ E^`^g]Zkr HZdl Ln[]boblbhg Zehg` ma^ ^Zlm ebg^ h_ Ah`Zg EZg^%
[^bg` cnlm lhnma h_ ;nlbg^ll NL +2) ! He] A^film^Z] Ab`apZr"' ?nkma^kfhk^%ma^ ln[c^\m bl eh\Zm^]
ZiikhqbfZm^er +')) fbe^l p^lm h_ ma^ bgm^kl^\mbhg h_ ;nlbg^ll NL +2) Zg] LmZm^ Ab`apZr / ! LA /"'
         Iarlb\Ze <aZkZ\m^kblmb\l3 Ma^ ln[c^\m lbm^ bl k^\mZg`neZk bg laZi^ Zg] \hgmZbgl Z mhmZe h_
)'..., Z\k^l hk +-%  ,2- ljnZk^ _^^m h_ eZg] ! lbs^ i^k P<:="'
         Shgbg`(EZg] Nl^3 Ma^ ln[c^\m bl eh\Zm^] bg ma^ <bmr h_ A^film^Z] pbmabg PZee^k <hngmr%
pab\a g^bma^k ln[l\kb[^ mh shgbg`' Ma^k^ Zk^ gh dghpg ]^^] k^lmkb\mbhgl%hk hma^k dghpg
k^lmkb\mbhgl Zl mh nl^ hk oZen^'
         ?ehh]ieZbg3 :\\hk]bg` mh ma^ _ehh] bglnkZg\^ kZm^ fZi h_ ma^ ?^]^kZe >f^k`^g\r
FZgZ`^f^gm :`^g\r%k^obl^] FZr */%+)*2%?>F: FZi Gh' -1-0,<)*,)?%ma^ ln[c^\m eb^l
pbmabg Shg^ Q%Zg Zk^Z hnmlb]^ ma^ .))&r^Zk Zg] *))&r^Zk _ehh]ieZbgl' : \hir h_ ma^ _ehh]ieZbg
fZi _heehpl mabl l^\mbhg' Ie^Zl^ k^_^k mh ma^ \Znmbhg lmZm^f^gm Zm ma^ [hmmhf h_ _ehh]ieZbg fZi'
         >gobkhgf^gmZe <hg\^kgl3 :g ^gobkhgf^gmZe lnko^r _hk ma^ ln[c^\m ikhi^kmr pZl ghm
ikhob]^]' Bm bl Zllnf^] maZm gh Z]o^kl^ ^gobkhgf^gmZe hk `^heh`b\ \hg]bmbhgl ^qblm%[nm mabl lahne]
[^ \a^\d^] pbma ZiikhikbZm^ ikh_^llbhgZel'
         Mhih`kZiar(=kZbgZ`^3 Nihg bgli^\mbhg%ma^ ln[c^\m lbm^ Zii^Zkl mh [^ e^o^e Zg] p^ee
]kZbg^]' =kZbgZ`^ h_ ma^ ln[c^\m lbm^ bl _Z\bebmZm^] [r gZmnkZe lbm^ ]kZbgZ`^ mh hi^g ]bm\a ]kZbgZ`^
Zehg` [hk]^kbg` khZ]pZr kb`aml h_ pZr' =kZbgZ`^ h_ ma^ Zk^Z bl ng]^k ma^ \hgmkhe h_ PZee^k <hngmr
Zg] Zii^Zkl Z]^jnZm^ Zl ^ob]^g\^ [r ma^ ^qblmbg` bfikho^f^gml bg ma^ bff^]bZm^ ob\bgbmr'
         >Zl^f^gml Zg] <ho^gZgml3 Ma^ ln[c^\m aZl gh dghpg ^Zl^f^gml hk k^lmkb\mbhgl pab\a
phne] [^ \hglb]^k^] mh Z]o^kl^er Z__^\m nmbebsZmbhg h_ ma^ ln[c^\m lbm^' Ma^k^ Zk^ nmbebmr ^Zl^f^gml
\hffhg mh ikhi^kmb^l bg ma^ Zk^Z'
         Nmbebmb^l(>]n\Zmbhg(In[eb\ L^kob\^l Ma^ ln[c^\m ]h^l aZo^ Z\\^ll mh in[eb\ pZm^k Zg]
l^p^k' >e^\mkb\bmr bl ]blmkb[nm^] [r <^gm^kIhbgm >g^k`r%Zg] m^e^iahg^ bl ZoZbeZ[e^ makhn`a l^o^kZe
gZmbhgZe ikhob]^kl' Bg Z]]bmbhg%\Z[e^ m^e^oblbhg Zg] ab`a li^^] bgm^kg^m l^kob\^ Zk^ k^Z]ber ZoZbeZ[e^
makhn`a Z oZkb^mr h_ Zk^Z ikhob]^kl'




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        Iheb\^%_bk^%Zg] ^f^k`^g\r l^kob\^l Zk^ ikhob]^] [r PZee^k <hngmr' >]n\Zmbhg bl ikhob]^]
[r ma^ A^film^Z] Bg]^i^g]^gm L\ahhe =blmkb\m%pab\a ikhob]^l l^\hg]Zkr ^]n\Zmbhg makhn`a ma^
ab`a l\ahhe e^o^e ! Dbg]^k`Zkm^g makhn`a ma^ *+ma `kZ]^"'
        <hg\enlbhg3 Ma^ ln[c^\m aZl `hh] Z\\^ll mh ikbfZkr mkZ__b\ Zkm^kb^l Zg] Zee ihkmbhgl h_ ma^
`k^Zm^k Ahnlmhg Zk^Z' Ma^ lbm^ bl Z ln__b\b^gm lbs^ mh lniihkm Z gnf[^k h_ ihllb[e^ nl^l%Zg] ]h^l
ghm Zii^Zk mh [^ ^g\nf[^k^] [r Zgr ^Zl^f^gml hk ^g\khZ\af^gml maZm phne] Z__^\m oZen^ hk nl^'
Ma^ ln[c^\m k^ik^l^gml Z `hh] ]^o^ehiZ[e^ lbm^ pbma _Zbk Z\\^llb[bebmr Zg] Zf^gbmb^l'




                               :^kbZe Iahmh h_ Ln[c^\m Lbm^
                           ;hng]Zkb^l Zk^ ^lmbfZm^] [r ZiikZbl^k




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       ;khZ] :^kbZe Ob^p h_ Ln[c^\m Zg] Lnkkhng]bg` :k^Z =^o^ehif^gm




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                          Ln[c^\m P<:= MZq FZi




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                       Ln[c^\m Zl h_ =^\^f[^k +1% +)++




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                                                                                                                                               File No. 16489

                                                                                    FLOOD MAP
Borrower or Owner:
Subject Address: EL of Hogan Ln                                                                                  Census Tract: 6805.02
City: Hempstead                 County: Waller                                                                   State: TX         Zip Code: 77445
Lender or Client:                                                                                                Lat: 30.120109    Long: -96.107393




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                                                                                                                                    Course




 Flood Zone Information
 FEMA Map No. 48473C0130F
 FEMA Zone X
 Effective Date 05/16/2019
        100-Year                                                                                                                                0                  0.1               0.2
        Outside 500-Year                                                                                                                                         Miles
                                                                                                                                                  Copyright 1994-2022, MapPro Inc.
           The location of flood hazard areas shown on this map are approximate only. Flood hazard boundaries may change from time to time. A property in the general
CAUTION:   vicinity of a flood hazard area should be evaluated by a civil engineer or other appropriate specialist prior to purchase or investment.

                                                                                                44
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                                  AB@A>LM :G= ;>LM NL>

         Ab`a^lm Zg] [^lm nl^ bl ]^_bg^] Zl "ma^ k^ZlhgZ[er ikh[Z[e^ Zg] e^`Ze nl^ h_ oZ\Zgm eZg] hk
Zg bfikho^] ikhi^kmr%pab\a bl iarlb\Zeer ihllb[e^%ZiikhikbZm^er lniihkm^]%_bgZg\bZeer _^Zlb[e^%
Zg] maZm k^lneml bg ma^ ab`a^lm oZen^" !                                          %/ma >]bmbhg"' Ma^
]^_bgbmbhgl h_ ab`a^lm Zg] [^lm nl^ bg]b\Zm^ maZm ma^k^ Zk^ mph mri^l h_ ab`a^lm Zg] [^lm nl^' Ma^
_bklm mri^ bl ab`a^lm Zg] [^lm nl^ h_ eZg] hk Z lbm^ Zl mahn`a oZ\Zgm' Ma^ l^\hg] bl ab`a^lm Zg] [^lm
nl^ h_ Z ikhi^kmr Zl bfikho^]' >Z\a mri^ k^jnbk^l Z l^iZkZm^ ZgZerlbl' Fhk^ho^k%bg ^Z\a \Zl^%ma^
^qblmbg` nl^ fZr hk fZr ghm [^ ]b__^k^gm _khf ma^ lbm^ l ab`a^lm Zg] [^lm nl^'
         E^`Zeer I^kfbllb[e^3 Bg Zee \Zl^l h_ ab`a^lm Zg] [^lm nl^%ma^ ZiikZbl^k fnlm ]^m^kfbg^ ma^
nl^l h_ ma^ lbm^ pab\a Zk^ e^`Zeer i^kfbllb[e^' Ma^ ln[c^\m bl eh\Zm^] bg ma^ <bmr h_ A^film^Z]
pbmabg PZee^k <hngmr%pab\a g^bma^k ln[l\kb[^ mh shgbg`' ;^rhg] [nbe]bg` \h]^ k^jnbk^f^gml%
ma^k^ Zii^Zk mh [^ gh e^`Ze bfi^]bf^gml mh ma^ ln[c^\m nl^ hk oZen^'
         Iarlb\Zeer Ihllb[e^3 Lbs^%m^kkZbg%laZi^ pbma k^li^\m mh ]^o^ehif^gm%lnkkhng]bg` nl^l%
Zg] nmbebmr ZoZbeZ[bebmr Zk^ `^g^kZeer \hglb]^k^] ma^ fhlm bfihkmZgm bg ]^m^kfbgbg` nl^l mh pab\a ma^
ln[c^\m fZr [^ ]^o^ehi^]' Ma^ ln[c^\m lbm^ \hgmZbgl Z mhmZe h_ )'..., Z\k^l hk +-% #&- ljnZk^ _^^m h_
oZ\Zgm eZg]' Ma^ ln[c^\m ]h^l aZo^ Z\\^ll mh in[eb\ pZm^k Zg] l^p^k l^kob\^l' Ma^ ln[c^\m mkZ\m bl h_
Z lbs^ Zg] laZi^ maZm \hne] Z\\hffh]Zm^ Z gnf[^k h_ nl^l' <hglb]^kbg` ma^ lbs^ Zg] eh\Zmbhg h_
ma^ ln[c^\m%ma^ fhlm ebd^er iarlb\Ze nl^l phne] [^ _hk lhf^ mri^ h_ \hff^k\bZe ]^o^ehif^gm Zl
]^fZg] pZkkZgml'
         ?bgZg\bZeer ?^Zlb[e^3 Mabl \kbm^kbhg ]b\mZm^l maZm ma^ nl^ fnlm \k^Zm^ oZen^ Zg] `^g^kZm^ Z
ihlbmbo^ g^m bg\hf^' ?Z\mhkl pab\a bg_en^g\^ _^Zlb[e^ nl^l bg\en]^ mahl^ \hglb]^k^] hma^k maZg
e^`Zeer i^kfbllb[e^ Zg] iarlb\Zeer ihllb[e^ nl^l%Zl p^ee Zl ^\hghfb\ _Z\mhkl k^eZmbg` mh k^gmZe kZm^l
Zg] h\\niZg\b^l h_ ma^ oZkbhnl k^Ze ^lmZm^ l^\mhkl' Bg hma^k phk]l%Z ikhi^kmr l _bgZg\bZe _^Zlb[bebmr
bl [Zl^] hg bml bg\hf^ ihm^gmbZe'
         FZqbfZeer Ikh]n\mbo^3 Bg \hglb]^kbg` ma^ fZqbfZeer ikh]n\mbo^ nl^l%ma^ \hfiZkblhg h_
Zee nl^l ]^m^kfbg^] mh [^ iarlb\Zeer ihllb[e^%e^`Zeer i^kfbllb[e^%Zg] _bgZg\bZeer _^Zlb[e^ Zk^
^oZenZm^]' Ma^ fZqbfZeer ikh]n\mbo^ nl^ ikh]n\^l ma^ ab`a^lm kZm^ h_ k^mnkg hk ma^ ab`a^lm oZen^ mh
ma^ ikhi^kmr' @^g^kZeer%bm bl ob^p^] Zl ma^ b]^Ze bfikho^f^gm' Ma^k^ Zk^ _^p b_ Zgr nl^l pab\a
\k^Zm^ Z `k^Zm^k k^mnkg mh ma^ eZg] maZg lhf^ mri^ h_ \hff^k\bZe nl^'
         :l OZ\Zgm3 ;Zl^] hg Z k^ob^p h_ _bgZg\bZe bg_hkfZmbhg%bm bl hnk hibgbhg maZm ma^ ab`a^lm
Zg] [^lm nl^ h_ ma^ ikhi^kmr "Zl oZ\Zgm%  " bl _hk \hff^k\bZe nl^'




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                                SALES COMPARISON APPROACH

        =FC Q?JCQ AMKN?PGQML ?NNPM?AF GQ ? QCR MD NPMACBSPCQ GL UFGAF ? T?JSC GLBGA?RGML GQ
BCPGTCB @W AMKN?PGLE RFC NPMNCPRW @CGLE ?NNP?GQCB RM QGKGJ?P NPMNCPRGCQ RF?R F?TC @CCL QMJB
PCACLRJW$ ?NNJWGLE ?NNPMNPG?RC SLGRQ MD AMKN?PGQML$ ?LB K?IGLE ?BHSQRKCLRQ RM RFC Q?JCQ NPGACQ MD
RFC AMKN?P?@JCQ @?QCB ML RFC CJCKCLR MD AMKN?PGQML& =FC Q?JCQ AMKN?PGQML ?NNPM?AF K?W @C
SQCB RM T?JSC GKNPMTCB NPMNCPRGCQ$ T?A?LR J?LB MP J?LB @CGLE AMLQGBCPCB ?Q RFMSEF T?A?LR&
        =FC Q?JCQ AMKN?PGQML ?NNPM?AF GQ ?NNJGA?@JC UFCL QSDDGAGCLR B?R? ML PCACLR K?PICR
RP?LQ?ARGMLQ GQ ?T?GJ?@JC& 4QQCLRG?J GLDMPK?RGML ML GLAMKC%NPMBSAGLE NPMNCPRGCQ BCPGTCB RFPMSEF
Q?JCQ AMKN?PGQML GQ SQCB GL RFC GLAMKC A?NGR?JGX?RGML ?LB AMQR ?NNPM?AFCQ&
        =FC NPMACBSPC DMP ?NNJWGLE RFC Q?JCQ AMKN?PGQML ?NNPM?AF GLAJSBCQ RFC DMJJMUGLE1
        (& ;CQC?PAF RFC AMKNCRGRGTC K?PICR DMP GLDMPK?RGML ML NPMNCPRGCQ RF?R ?PC QGKGJ?P RM RFC QS@HCAR
NPMNCPRW ?LB RF?R F?TC PCACLRJW QMJB$ ?PC JGQRCB DMP Q?JC$ MP ?PC SLBCP AMLRP?AR& 6LDMPK?RGML ML ?EPCCKCLRQ
MD Q?JC$ MNRGMLQ$ JGQRGLEQ$ ?LB @ML? DGBC MDDCPQ K?W ?JQM @C AMJJCARCB& =FC AF?P?ARCPGQRGAQ MD RFC NPMNCPRGCQ
QSAF ?Q NPMNCPRW RWNC$ B?RC MD Q?JC$ QGXC$ NFWQGA?J AMLBGRGML$ JMA?RGML$ ?LB J?LB SQC AMLQRP?GLRQ QFMSJB @C
AMLQGBCPCB& =FC EM?J GQ RM DGLB ? QCR MD AMKN?P?@JC Q?JCQ MP MRFCP CTGBCLAC QSAF ?Q NPMNCPRW JGQRGLEQ MP
AMLRP?ARQ ?Q QGKGJ?P ?Q NMQQG@JC RM RFC QS@HCAR NPMNCPRW RM CLQSPC RFCW PCDJCAR RFC ?ARGMLQ MD QGKGJ?P @SWCPQ&
8?PICR ?L?JWQGQ ?LB FGEFCQR ?LB @CQR SQC ?L?JWQGQ QCR RFC QR?EC DMP RFC QCJCARGML MD ?NNPMNPG?RC AMKN?P?@JC
Q?JCQ&
        )& >CPGDW RFC GLDMPK?RGML @W AMLDGPKGLE RF?R RFC B?R? M@R?GLCB GQ D?ARS?JJW ?AASP?RC ?LB RF?R RFC
RP?LQ?ARGMLQ PCDJCAR ?PKZQ%JCLERF K?PICR AMLQGBCP?RGMLQ& >CPGDGA?RGML QFMSJB CJGAGR ?BBGRGML?J GLDMPK?RGML
?@MSR RFC NPMNCPRW QSAF ?Q @SWCP KMRGT?RGML$ CAMLMKGA AF?P?ARCPGQRGAQ "GD RFC NPMNCPRW GQ GLAMKC%
NPMBSAGLE#$ T?JSC AMKNMLCLR ?JJMA?RGMLQ$ ?LB MRFCP QGELGDGA?LR D?ARMPQ ?Q UCJJ ?Q GLDMPK?RGML ?@MSR RFC
K?PICR RM CLQSPC RF?R AMKN?PGQMLQ ?PC APCBG@JC&
        *& <CJCAR RFC KMQR PCJCT?LR SLGRQ MD AMKN?PGQML SQCB @W N?PRGAGN?LRQ GL RFC K?PICR "C&E&$ NPGAC NCP
?APC$ NPGAC NCP QOS?PC DMMR$ NPGAC NCP DPMLR DMMR$ NPGAC NCP BUCJJGLE SLGR# ?LB BCTCJMN ? AMKN?P?RGTC
?L?JWQGQ DMP C?AF SLGR& =FC ?NNP?GQCPZQ EM?J GQ RM BCDGLC ?LB GBCLRGDW ? SLGR MD AMKN?PGQML RF?R CVNJ?GLQ
K?PICR @CF?TGMP&
        +& 7MMI DMP BGDDCPCLACQ @CRUCCL RFC AMKN?P?@JC Q?JC NPMNCPRGCQ ?LB RFC QS@HCAR NPMNCPRW SQGLE ?JJ
?NNPMNPG?RC CJCKCLRQ MD AMKN?PGQML& =FCL ?BHSQR RFC NPGAC MD C?AF Q?JC NPMNCPRW$ PCDJCARGLE FMU GR BGDDCPQ$
RM COS?RC GR RM RFC QS@HCAR NPMNCPRW MP CJGKGL?RC RF?R NPMNCPRW ?Q ? AMKN?P?@JC& =FGQ QRCN RWNGA?JJW GLTMJTCQ
SQGLE RFC KMQR QGKGJ?P Q?JC NPMNCPRGCQ ?LB RFCL ?BHSQRGLE DMP ?LW PCK?GLGLE BGDDCPCLACQ& 6D ? RP?LQ?ARGML
BMCQ LMR PCDJCAR RFC ?ARGMLQ MD ? @SWCP UFM UMSJB ?JQM @C ?RRP?ARCB RM RFC QS@HCAR NPMNCPRW$ RFC ?NNP?GQCP
QFMSJB @C AMLACPLCB ?@MSR AMKN?P?@GJGRW&
        ,& ;CAMLAGJC RFC T?PGMSQ T?JSC GLBGA?RGMLQ NPMBSACB DPMK RFC ?L?JWQGQ MD AMKN?P?@JCQ GLRM ? T?JSC
AMLAJSQGML& 2 T?JSC MNGLGML A?L @C CVNPCQQCB ?Q ? QGLEJC NMGLR CQRGK?RC$ ?Q ? P?LEC MD T?JSCQ$ MP GL RCPKQ
MD PCJ?RGMLQFGN "C&E&$ KMPC MP JCQQ RF?L ? EGTCL ?KMSLR#&
      =FCPC ?PC (' @?QGA CJCKCLRQ MD AMKN?PGQML RF?R QFMSJB @C AMLQGBCPCB GL Q?JCQ AMKN?PGQML
?L?JWQGQ1
       (# ;C?J :PMNCPRW PGEFRQ AMLTCWCB
       )# 5GL?LAGLE RCPKQ
       *# 3MLBGRGMLQ MD Q?JC
       +# 4VNCLBGRSPCQ K?BC GKKCBG?RCJW ?DRCP RFC NSPAF?QC
       ,# 8?PICR AMLBGRGMLQ "RGKC#
       -# 7MA?RGML
       .# :FWQGA?J AF?P?ARCPGQRGAQ Y C&E&$ QGXC$ AMLQRPSARGML$ OS?JGRW$ AMLBGRGML
       /# 4AMLMKGA AF?P?ARCPGQRGAQ Y C&E&$ CVNCLQC P?RGMQ$ JC?QC NPMTGQGMLQ$ K?L?ECKCLR$ RCL?LR
       KGV
       0# 7CE?J AF?P?ARCPGQRGAQ
      ('# 9ML%PC?JRW AMKNMLCLRQ MD T?JSC
"The Appraisal of Real Estate$ (&RF 4BGRGML" )(# %'$#&


                                                     46
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 Sale "                                 Key Map:                                   Reference No: 21086
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        WL of Birdie Dr
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Jasmeet Sudhan
Grantee:                  Kuark Energy Services LLC
Sale Date:                August 25, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2211393
Legal Description:        Block 1, Lot 60, Legendary Oaks Subdivision, Waller County, TX




SALE ANALYSIS            Sales Price: $95,000                      Adjusted Sales Price: $95,000
                         Land             $3.95 PSF                       $171,977 Per Acre

LAND INFORMATION
Land Size:     0.552 Ac.                        24,063 SF
Frontage:      Birdie Dr
Floodplain:    X                                     Zoning:               None
Panel No.:                                           Encumbrances:         None
Panel Date:                                          Environmental Issues:
UTILITIES
Electricity:             Yes                                     Sewer:       No
Gas:                     No                                      Telephone:   Yes
Water:                   No                                      Road:        2 lane

COMMENTS
Confirmed Sale (MLS 18203199) Legendary Oaks Subdivision




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 Sale #                                 Key Map:                                  Reference No: 21087
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        EL of Lawrence Marshall Dr
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Donna Ann Hamner and Ray Vernon
Grantee:                  Kuark Energy Services LLC
Sale Date:                August 1, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2210305
Legal Description:        Block 1, Lot 34, Legendary Oaks Subdivision, Waller County, TX




SALE ANALYSIS            Sales Price: $87,000                     Adjusted Sales Price: $87,000
                         Land             $4.25 PSF                      $185,108 Per Acre

LAND INFORMATION
Land Size:     0.470 Ac.           20,473 SF
Frontage:      Lawrence Marshall Dr
Floodplain:    X                       Zoning:               None
Panel No.:                             Encumbrances:         None
Panel Date:                            Environmental Issues:
UTILITIES
Electricity:             Yes                                    Sewer:       No
Gas:                     No                                     Telephone:   Yes
Water:                   No                                     Road:        2 lane

COMMENTS
Confirmed Sale (MLS 26914637) Legendary Oaks Subdivision




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 Sale $                                 Key Map:                                   Reference No: 21088
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        EL of Hogan Ln
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Larry W Wilson Jr. and S Ashanti
Grantee:                  Elizabeth Ewing
Sale Date:                June 7, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2207448
Legal Description:        Block 1, Lot 51, Legendary Oaks Subdivision, Waller County, TX




SALE ANALYSIS            Sales Price: $75,000                      Adjusted Sales Price: $75,000
                         Land             $3.51 PSF                       $153,064 Per Acre

LAND INFORMATION
Land Size:     0.490 Ac.                        21,344 SF
Frontage:      Hogan Ln
Floodplain:    X                                     Zoning:               None
Panel No.:                                           Encumbrances:         None
Panel Date:                                          Environmental Issues:
UTILITIES
Electricity:             Yes                                     Sewer:       No
Gas:                     No                                      Telephone:   Yes
Water:                   No                                      Road:        2 lane

COMMENTS
Confirmed Sale (MLS 60873518) Legendary Oaks Subdivision




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 Sale %                                 Key Map:                                   Reference No: 21089
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        EL of Hogan Ln
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  David and Patty Sanders
Grantee:                  CBT Group LLC
Sale Date:                March 1, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2202516
Legal Description:        Block 1, Lot 56, Legendary Oaks Subdivision, Waller County, TX




SALE ANALYSIS            Sales Price: $80,000                      Adjusted Sales Price: $80,000
                         Land             $3.31 PSF                       $144,065 Per Acre

LAND INFORMATION
Land Size:     0.555 Ac.                        24,189 SF
Frontage:      Hogan Ln
Floodplain:    X                                     Zoning:               None
Panel No.:                                           Encumbrances:         None
Panel Date:                                          Environmental Issues:
UTILITIES
Electricity:             Yes                                     Sewer:       No
Gas:                     No                                      Telephone:   Yes
Water:                   No                                      Road:        2 lane

COMMENTS
Confirmed Sale (MLS 62752028) Legendary Oaks Subdivision




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 Sale &                                 Key Map:                                  Reference No: 21090
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        NEC of Lawrence Marshall Dr and Brassie Dr
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Richard C and Cindy Pearce
Grantee:                  CBT Group LLC
Sale Date:                February 23, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2202159
Legal Description:        Block 1, Lot 28, Legendary Oaks Subdivision, Waller County, TX




SALE ANALYSIS            Sales Price: $80,000                     Adjusted Sales Price: $80,000
                         Land             $4.17 PSF                      $181,822 Per Acre

LAND INFORMATION
Land Size:     0.440 Ac.           19,166 SF
Frontage:      Lawrence Marshall Dr and Brassie Dr
Floodplain:    X                       Zoning:               None
Panel No.:                             Encumbrances:         None
Panel Date:                            Environmental Issues:
UTILITIES
Electricity:             Yes                                    Sewer:       No
Gas:                     No                                     Telephone:   Yes
Water:                   No                                     Road:        2 lane

COMMENTS
Confirmed Sale (MLS 50965624) Legendary Oaks Subdivision




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 Sale '                                 Key Map:                                  Reference No: 21093


Property Type:           Commercial Vacant Land
Property Name:           Vacant Land
Property Address:        EL of Lawrence Marshall Dr
City, County, State:     Hempstead, Waller County, TX 77445


Grantor:                  Crown Bridge Builders LLC
Grantee:                  Robert and Patricia Dreahn
Sale Date:                January 20, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           1807697
Legal Description:        Block 1, Lot 33, Legendary Oaks Subdivision, Waller County, TX




                         Sales Price: $63,000                     Adjusted Sales Price: $63,000
                         Land             $3.14 PSF                      $136,954 Per Acre


Land Size:               0.460 Ac.           20,038 SF
Frontage:                Lawrence Marshall Dr
Floodplain:              X                       Zoning:               None
Panel No.:                                       Encumbrances:         None
Panel Date:                                      Environmental Issues:

Electricity:             Yes                                    Sewer:       No
Gas:                     No                                     Telephone:   Yes
Water:                   No                                     Road:        2 lane

Confirmed Sale (MLS 97812260) Legendary Oaks Subdivision




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                                                                                                                                       File No. 16489

                                                                   LOCATION MAP
Borrower or Owner:
Subject Address: EL of Hogan Ln                                                                            Census Tract: 6805.02
City: Hempstead                 County: Waller                                                             State: TX         Zip Code: 77445
Lender or Client:                                                                                          Lat: 30.1201      Long: -96.1074




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                                                                          Urban Rd




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                              290
                              290




                                                 Legendary Oaks Blvd




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                                                                                                                                                        Miles
                                                                                                                                        Copyright 1994-2022, MapPro Inc.
            The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
CAUTION:    addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.

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                                     LBM> O:EN:MBHG


        Ma^ lZe^l \hfiZkblhg ZiikhZ\a nmbebs^l lZe^l mkZglZ\mbhgl h_ Zk^Z ikhi^kmb^l \hglb]^k^]
\hfiZkZ[e^ mh fhlm \aZkZ\m^kblmb\l h_ ma^ ln[c^\m lbm^' Ma^ fhlm [Zlb\ k^jnbk^f^gm bl maZm ma^
\hfiZkZ[e^ lZe^l Zk^ eh\Zm^] pbmabg ikhqbfbmr mh ma^ ln[c^\m g^b`a[hkahh] Zg] aZo^ h\\nkk^] bg
ma^ hi^g fZkd^m bg ma^ k^\^gm iZlm' Mabl ZgZerlbl pZl \hg]n\m^] pbmabg ma^ _kZf^phkd h_ ma^
]^_bgbmbhg h_ fZkd^m oZen^%Zl ]^l\kb[^] pbmabg ma^ k^ihkm' Bm k^jnbk^l Z oZenZmbhg h_ ma^ lbm^%"Zl
oZ\Zgm"%Zl bg bml ab`a^lm Zg] [^lm nl^'
        Bg hk]^k mh ]^o^ehi Z oZen^ ^lmbfZm^ _hk ma^ ln[c^\m mkZ\m%ma^ ]^^] k^\hk]l h_ PZee^k
<hngmr p^k^ l^Zk\a^] makhn`a Z ]^^] k^ihkmbg` l^kob\^%Zg] ma^ Zk^Z pZl lnko^r^] _hk lZe^l h_
\hfiZkZ[e^ mkZ\ml'
        Bg\en]^] pbmabg mabl l^\mbhg Zk^ lbq \hfiZkZ[e^ lZe^l h_ oZ\Zgm eZg] mkZ\ml%pab\a Zk^
\hglb]^k^] mh [^ \hfiZkZ[e^ mh ma^ ln[c^\m bg ma^ bff^]bZm^ g^b`a[hkahh]' Ie^Zl^ ghm^%LZe^ - bl
Z ik^obhnl lZe^ h_ ma^ ln[c^\m ikhi^kmr' Ma^ lZe^l bg\en]^] _hk \hfiZkblhg pbmabg mabl l^\mbhg Zk^
ma^ fhlm \hfiZkZ[e^ lZe^l mh ma^ ln[c^\m ikhi^kmr Zg] Zk^ ma^ fhlm k^\^gm lZe^l h\\nkkbg` pbmabg
ma^ bff^]bZm^ g^b`a[hkahh]' ;Zl^] hg ma^ jnZebmr Zg] jnZgmbmr h_ ma^ ]ZmZ%hnk \hg_b]^g\^ e^o^e
bg ma^ eZg] lZe^l \hfiZkblhg ZiikhZ\a bl ab`a' Ma^ lZe^l Zk^ ]^l\kb[^] bg ]^mZbe hg ma^ eZg] lZe^
\hfiZkZ[e^ _hkfl%pab\a bff^]bZm^er ik^\^]^ mabl l^\mbhg' :]]bmbhgZeer%Z lZe^l fZi bl
bg\en]^] bg ma^ ik^\^]bg` iZ`^l%Zg] ma^ lZe^l fZi \hgmZbgl Z k^ik^l^gmZmbhg h_ ma^ lbs^%laZi^%
Zg] eh\Zmbhg h_ ^Z\a lZe^ bg k^eZmbhg mh ma^ ln[c^\m ikhi^kmr'
        :]cnlmf^gm ?Z\mhkl3 Ma^ f^mah]heh`r _hk mabl ZiikhZ\a bl ma^ ^fiehrf^gm h_ Zg
Z]cnlmf^gm `kb]%Z \hir h_ pab\a _heehpl mabl l^\mbhg Zg] Zelh Z\ml Zl Z lnffZkr h_ ma^ eZg]
lZe^l Zg] ma^ [Zlb\ ln[c^\m bg_hkfZmbhg' Gh _bgZg\bZe Z]cnlmf^gml aZo^ [^^g g^\^llZkr' Ma^
_heehpbg` iZkZ`kZial ]bl\nll ma^ Z]cnlmf^gml Zg] fZd^ ma^ \hfiZkblhgl pbma ma^ ln[c^\m lbm^'
        <hg]bmbhgl h_ LZe^3 Mabl Z]cnlmf^gm mZd^l bgmh \hglb]^kZmbhg ngnlnZe _^Zmnk^l h_ ma^
mkZglZ\mbhg%ln\a Zl ngnlnZe bg_en^g\^l Zfhg` ma^ lZe^ iZkmb^l%^qblmbg` bfikho^f^gml hg ma^
lZe^l Zm ma^ ]Zm^ h_ ma^ mkZglZ\mbhg%hk pa^ma^k hk ghm ma^ lZe^ mhhd ieZ\^ ng]^k hi^g fZkd^m
\hg]bmbhgl' Gh Z]cnlmf^gml Zk^ g^\^llZkr'
        FZkd^m <hg]bmbhgl ! Mbf^" 3 Ma^ fZkd^m \hg]bmbhg ! mbf^" Z]cnlmf^gm bl \hglb]^k^] Zg]
ma^ eZ\d h_ lZe^l Z\mbobmr bg lhf^ k^Ze ^lmZm^ l^\mhkl fZr ihbgm mh ma^ g^^] _hk mabl Z]cnlmf^gm'
Ma^ \hfiZkZ[e^ lZe^l bg\en]^] pbmabg mabl ZgZerlbl h\\nkk^] ]nkbg` ma^ ik^obhnl + r^Zkl' Ma^
\nkk^gm <HOB=& *2 hnm[k^Zd bl \hglb]^k^]4 ahp^o^k%bg]b\Zmbhgl Zk^ ma^ ln[c^\m fZkd^m l^`f^gm
maZm aZl k^fZbg^] lm^Z]r' Gh Z]cnlmf^gml Zk^ g^\^llZkr'
        Lbs^3 Pabe^ ma^ lZe^l Zm e^Zlm ]^fhglmkZm^ ma^ ikbg\bie^ maZm Z lfZee^k lbm^ pbee l^ee _hk
fhk^ i^k ljnZk^ _hhm maZg Z eZk`^k hg^%ma^k^ bl bgln__b\b^gm \hfiZkZ[bebmr Zg] gnf[^kl _khf
pab\a mh ]kZp Z f^Zgbg`_ne Z]cnlmf^gm _Z\mhk' Ahp^o^k%r^Zkl h_ iZbkbg` lmn]b^l makhn`ahnm ma^



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@ne_ <hZlm Zk^Z ln``^lm Z lZ_^ Zo^kZ`^ \hfiZkblhg h_ .% mh *)% i^k ]hn[ebg` hk aZeobg` bg lbs^
[r \hfiZkblhg pbma ma^ ln[c^\m )'...,& Z\k^ lbm^ lbs^' Ma^ ZiikZbl^k pbee ZgZers^ ma^ lZe^l [Zl^]
hg Z *)% i^k ]hn[ebg` khng]^] mh ma^ g^Zk^lm .%' Gh lbs^ Z]cnlmf^gml p^k^ fZ]^'
         Eh\Zmbhg3 Eh\Zmbhg Z]cnlmf^gml Zk^ ikbfZkber ln[c^\mbo^ mh ma^ ZiikZbl^k%[Zl^] nihg
^qi^kb^g\^%dghpe^]`^ h_ ma^ oZkbhnl fZkd^ml bgoheo^]%Zg] hg bgli^\mbhgl h_ ma^ ikhi^kmb^l
ik^l^gm^]'
         ?ehh]ieZbg3 ?ehh]ieZbg ]^lb`gZmbhgl Z__^\m ma^ nmbebsZmbhg h_ ^Z\a mkZ\m%Zg] manl Z__^\m
oZen^' Ma^ ln[c^\m bl eh\Zm^] bg Shg^ Q _ehh]pZr' Gh Z]cnlmf^gml p^k^ g^\^llZkr'
         Iarlb\Ze <aZkZ\m^kblmb\l3 Mabl Z]cnlmf^gm \hglb]^kl \hkg^k bg_en^g\^% nmbebmb^l%
]^m^gmbhg%Zg] laZi^' Gh Z]cnlmf^gml p^k^ fZ]^'
         <hg\enlbhg3 :_m^k ZgZersbg` ma^ ehm lZe^l Zg] lnko^rbg` FEL Zg] Zk^Z k^Ze ^lmZm^
[khd^kl%[nr^kl bg ma^ ln[c^\m fZkd^m Zk^ fhk^ Zim mh iZrbg` Z i^k ehm ikb\^ kZma^k maZg Z i^k Z\k^
hk i^k ljnZk^ _hhm ikb\^' ;nr^kl h_ ahf^l Zg] ehml bg ma^ ln[c^\m fZkd^m mrib\Zeer aZo^ Zg ho^kZee
ikb\^ ihbgm _hk Z ahf^ lbm^' Pa^ma^k bml Z mkZ\m ahf^ ehm%\hg]h ehm%hk mhpgahf^ ehm%ma^r m^g]
mh [nr [Zl^] hg Zg ho^kZee ikb\^ ihbgm'
         Ma^ ehm lbs^l _khf ma^ lZe^l kZg`^ _khf )'--"" Z\k^ mh )'...) Z\k^ Zg] kZg`^ bg lZe^l
ikb\^ h_ $/,% ))) mh $2.% ))) pbma Z f^Zg h_ $1)%  ))) i^k ehm Zg] Z f^]bZg h_ $1)%))) i^k ehm' :l
ln\a%bm bl hnk hibgbhg maZm ma^ ln[c^\m lbm^ aZl Z fZkd^m oZen^ Zm ma^ f^Zg Zg] f^]bZg Zm $1)% )))
i^k ehm'


                                            $1)% )))




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